Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 1 of 182 PagelD 1902

 

IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA, Jacksonville, Florida
Plaintiff, Case No. 3:20-cr-86-TJC-JBT
vs. April 27, 2021
JORGE PEREZ, et al., 10:02 a.m.
Defendants. Courtroom No. 10D

 

MOTION AND STATUS HEARING
BEFORE THE HONORABLE TIMOTHY J. CORRIGAN
UNITED STATES DISTRICT JUDGE

COURT REPORTER:

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(Proceedings recorded by mechanical stenography;
transcript produced by computer. )

 

 

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 2 of 182 PagelD 1903

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 3 of 182 PagelD 1904

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 4 of 182 PagelD 1905

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PROCEEDINGS

April 27, 2021 10:02 a.m.

COURT SECURITY OFFICER: All rise. The United States
District Court in and for the Middle District of Florida is now
in session. The Honorable Timothy J. Corrigan presiding.

Please be seated.

THE COURT: Well, good morning. I -- when we set
this case for a hearing on April 27th, I think we did so almost
a year ago. And, of course, I had hoped that we would be free
of our COVID restrictions at this -- at this time, but we're
not.

We have recently -- probably starting February ‘1st,
we started having more in-person hearings. We resumed jury
trials in March. As a matter of fact, there are at least one
and maybe two jury trials going on in the building right now,
and -- but we have kept -- based on the advice of our
epidemiologist who consults with the court, we have kept our --
the rest of our protocols in place. Everybody wears a mask.

We try to spread people out as much as we can.

And, of course, this case has a lot of lawyers and a
lot of parties. And so we're doing the best we can to keep
everybody spread out. And we're going to wear masks.

But we don't want anybody to feel uncomfortable. And

if anybody does, you know, please let us know and we'll try to

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 5 of 182 PagelD 1906

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figure out another way to do this. We -- and sol -- I
don't -- and so I think we're okay. But if you feel
differently, please let me know.

And, of course, I Know a number of persons, including
myself, have been vaccinated. And so that's a comfort as well,
but -- and I think all the court staff, so...

Anyway, we're going to proceed today. And the way
we're going to do it is that I'll let the -- since the
government is kind of on one side of the -- of the courtroom
here, I'll let the government, if comfortable doing so, remain
at their table while they're speaking.

I'm going to ask on the defense side -- if you're the
one speaking, I'm going to ask you to come up to the podium,
because I don't think we'll be able to see or hear you as well
without doing that.

I'm sometimes asked if you can take your mask off
when you're speaking. And the answer is if -- the preference
is to keep it on. But if it interferes with your ability to
speak or if you really feel like it's better for you to take it
off, I'm not going to -- not going to object to that, so -- so
that's how we're going to proceed.

And let me go ahead and open the record. This is the
case of United States versus Perez, et al., 3:20-cr-86. And
let me go ahead and get appearances here.

And I'11 start with the government.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 6 of 182 PagelD 1907

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MR. DUVA: Good morning, Your Honor. Tysen Duva for
the government.

MR. HAYES: Good morning, Your Honor. Jim Hayes for
the government.

THE COURT: And who's on the phone?

MR. WINTERS: Good morning, Your Honor. Yes. Good
morning, Your Honor. It's Gary Winters for the government.

THE COURT: All right. And, of course, we -- I'm
allowing Mr. Winters to appear by phone because of a medical
situation that seemed appropriate to allow him to do so, so...

All right. Let's start with the attorneys for Dural]
and Fletcher, please.

MR. SAMUEL: Excuse me. My name is Don Samuel from
the Atlanta Bar. I represent Aaron Durall, along with Brian
Rafferty, who is lead counsel.

MR. RAFFERTY: Good morning, Your Honor. Brian
Rafferty for Mr. Durall.

THE COURT: Good morning.

MR. SADOW: Good morning, Your Honor. Steve Sadow
for Mr. Fletcher, and Vince Citro.

MR. CITRO: Good morning, Your Honor.

THE COURT: Good morning.

All right. What about James Porter, please?

MR. SCHWARTZ: Seth Schwartz on behalf of James

Porter.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 7 of 182 PagelD 1908

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MR. TASKER: Albert Tasker on behalf of James Porter.

THE COURT: And what about Sean Porter, please?

MR. ROWLAND: Good morning, Your Honor. Caleb
Rowland on behalf Sean Porter.

THE COURT: All right. And Ms. Zaffuto.

MR. LOWTHER: Good morning, Your Honor. Joshua
Lowther for Neisha Zaffuto.

THE COURT: Defendant Alonzo?

MS. GALNOR: Good morning, Your Honor. Darcy Galnor
on behalf of Mr. Alonzo.

THE COURT: Ms. Galnor.

Mr. Bell, you're -- of course -- do you pronounce it
Jorge Perez?

MR. BELL: He tells me Jorge Perez, Your Honor --

THE COURT: Jorge Perez.

MR. BELL: -- is how you use that. And he is
appearing by phone for medical conditions as well. He's
executed a waiver of appearance as well.

THE COURT: Okay. Mr. Landes.

MR. LANDES: Richard Landes appearing on behalf of
Ricardo Perez, who is present here in court. Good morning,
Judge.

THE COURT: Good morning.

And Mr. Rojas.

MR. HOROWITZ: Good morning, Your Honor. Phil

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 8 of 182 PageID 1909

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Horowitz on his behalf. And pursuant to docket entry 292, we
filed a waiver of his appearance.

THE COURT: All right. Did I miss anybody?

Okay. So let's -- let me circle back. If your
client is present in the courtroom today, you don't need to say
anything.

If your client has waived appearance, which I
permitted, and filed a written waiver -- let me just make sure
I've -- I've got those. So if your client is present, then
they're present. And I'11 understand that. So let's start
again with the waivers, just to make sure I got them all.

Who's on a waiver? Mr. Bell.

MR. BELL: Mr. Perez -- Jorge Perez has filed a
waiver. And he is participating by phone.

THE COURT: Okay. All right.

MS. GALNOR: Your Honor, Mr. Alonzo, we filed a
waiver as well.

THE COURT: All right, Ms. Galnor.

MR. HOROWITZ: And Mr. Nester Rojas, once again, Your
Honor.

THE COURT: Okay. Other than that, all clients are
present?

MR. SAMUEL: Yes, Your Honor.

THE COURT: Okay. All right. We're here today with

a fairly big agenda. We have a number of motions before the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 9 of 182 PagelD 1910

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Court. Before we -- before we address how we're going to
proceed -- and I did get an e-mail this morning from, I
believe, Mr. Landes suggesting an order of a way to proceed.
We'll talk about that in a moment.

Let me just say for the record that the Court, in
preparation for the hearing, has read, of course, the
superseding indictment. And then I have read every motion and
every response to the motions.

A number of you have adopted motions. And everybody
is going to be able to adopt any motion they want to. And the
rulings will pertain, of course, to those who have adopted.

In addition to that, I have read -- I will not claim
to have read cover to cover, but I have read certainly portions
of the expert opinions in each case where there's a Daubert
challenge.

We have a number of experts where there was no
Daubert challenge, but, obviously -- and I did take a look at
those just to see what the difference was.

But I have -- in addition to reading your Daubert
motions and responses, I have also read portions of the
reports. And, of course, I've had some good help to help me to
digest that material.

And so I think I have read everything that I could
and that was humanly possible over the last several days. And

so as we talk about these things -- I mean, we've got a lot of

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 10 of 182 PagelD 1911

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10

 

 

motions.

As we talk about these things, I'm going to be -- of
course I want to hear from the parties, but I also want to --
as much as we can, to cut to the chase, because we obviously
can't spend an hour on each motion. That's just not going to
work, so -- and some of them probably deserve more time than
others.

And so what I'm going to also ask you to do is -- I
assume there will be a primary spokesperson for each motion.
And unless -- I'11 probably, at the end of the presentation --
this will be on the defense side.

At the end of the presentation of the primary
speaker, I will ask if any other counsel wish to be heard. But
I'm going to really encourage you not to feel like you have to
be heard unless you have something else to say other than what
the person has already said or other than what's in the
writings. So we'll -- we'll try to handle it that way. We'll
see how it goes.

I don't have any particular time frame for this,
other than we'll just keep going. We'll take a break when we
need to. And if we are still here past a reasonable lunch
hour, we'll take a lunch break. And, you know, we'll just take
as long as it takes. But we'll also try to be as efficient as
we can.

And then at the end of this -- at the end of the day,

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 11 of 182 PagelD 1912

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11

 

 

I do want to carve out some time to talk about where we are in
the case. We've got pending deadlines.

Whether those deadlines remain realistic -- whether
the -- whether the COVID protocols play into a trial -- when we
should have this trial, given that it's a multi-defendant case
where there's going to be lots of people, should we be taking
that into account for the September date, and whether we'll]
still be -- where we'll be in that process in September.

So we'll have that discussion at the end. And any
adjustments that need to be made, we'll talk about that at that
time. So that's how we're going to proceed.

Now, with respect to the order in which we're going
to proceed, I do appreciate the help that Mr. Landes' e-mail
gave me. I had already constructed an order to go in. And I'm
probably going to stick to mine. It's not that much different
than what's here.

But the other thing about this list is it doesn't
have all the motions in it. So I want to obviously try to at
least make sure we're addressing all of the motions that are on
file.

So I'11 probably go in the order in which I had
previously decided to go. And unless somebody -- you know,
sometimes the order that you-all give me is based on some type
of decision-making, in terms of whether there's been an

announcement, whether there's been some agreement on something

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 12 of 182 PagelD 1913

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12

 

 

or another.

And if that's the case, I'm happy to hear from
anybody, but -- but unless that's the case, I'm going to
probably go in the order that -- that I had picked out for
myself.

So let me just -- I'll just pause here. Is there any
announcement or any -- any limitation on the motions that have
been filed? Or should the Court just proceed?

MR. DUVA: Your Honor, the government -- there's no
agreement on how to proceed. The government assumed the Court
would proceed as it saw fit.

THE COURT: Okay. Okay. All right. So here's how
we're going to proceed. The -- we're going to first discuss
the Brady motion. We're then going to discuss the motions to
dismiss.

And the order of that, I'll -- probably the motion by
Durall and Fletcher first, and then the motion by Zaffuto, and
then the motion by Porter -- the two Porters. I think those
are the three. Yeah.

Then we'll talk about the motions for bill of

particulars and we'll do -- I'11 tell the order when we get
there.

There's a motion -- the preliminary motion to sever.
I saw that it was -- there had been some adjustment to it, but

it wasn't entirely clear to me. When we get to it, we'll talk

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 13 of 182 PagelD 1914

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13

 

 

about where we are on that motion.

There's a motion to strike surplusage. There's a
motion for a James hearing. There's a government motion in
limine. And then there's the Daubert motions. That's my
proposed order of proceeding. And so unless there's any other
preliminary matters, we're going to go ahead and get going
here.

All right. Then -- then I'm on the Daubert motion.
Which -- who on the defense is going to speak to that motion?

MR. SAMUEL: Brady? The Brady motion, Your Honor?
You said Daubert. I --

THE COURT: Brady. Sorry.

MR. SAMUEL: Your Honor, I would feel more
comfortable taking my mask off.

THE COURT: That's fine.

MR. SAMUEL: I just get incredibly overheated for
some reason.

THE COURT: That's fine.

MR. SAMUEL: I have been vaccinated twice and all,
SO...

THE COURT: That's fine. All right. And --

MR. SAMUEL: I appreciate it.

THE COURT: -- we'll try to crank up the
air-conditioning a little bit. It is a little bit warm in

here.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 14 of 182 PagelD 1915

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14

 

 

MR. SAMUEL: Yeah.

THE COURT: All right. And even though counsel have
made appearances, go ahead -- when you start to speak, go ahead
and reintroduce yourself and who you represent, please.

MR. SAMUEL: All right. Your Honor, my name is Don
Samuel, S-a-m-u-e-1. I'm from the Atlanta Bar. And I'm here
with Brian Rafferty, who's lead counsel in the case. I'm just
arguing the motions. We represent Aaron Durall, who is present
in the courtroom.

With regard to the Brady motion, I know you said
it -- you preferred one counsel to be lead. Mr. Sadow, who
represents Chris Fletcher, is a co-author of this. And we
really divided responsibilities both in the drafting of the
motion and in the presentation to the Court. So we'll both
take half the amount of time that you thought we would take.

THE COURT: All right.

MR. SAMUEL: And so you won't be having to listen to
any repetitive portions at all. My argument is much more
focused on some of the legal issues and principles. Mr. Sadow
is a master of the discovery. And we'll talk about some of the
specifics, if that's okay.

Do you have a sense of how much time you're thinking,
I mean, just a ballpark or...

THE COURT: Well, I mean --

MR. SAMUEL: Whatever we think is --

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 15 of 182 PagelD 1916

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15

 

 

THE COURT: -- you know, if you're going to tell
me -- if you're going to tell me what Brady says, I think I
kind of know a little bit about that already. And so I
wouldn't think that would take all that long.

MR. SAMUEL: Right.

THE COURT: And so I'm -- I'm --

MR. SAMUEL: We'll be efficient.

THE COURT: I don't have a -- I don't have a real
sense yet. But what's going to happen, of course, is that the
first few motions are going to take forever, and then we're all
going to realize that we got to -- we got to get moving.

MR. SAMUEL: We're hungry.

THE COURT: That's usually what happens.

MR. SAMUEL: We're hungry, right.

THE COURT: Yeah.

MR. SAMUEL: Your Honor, I am not going to do a
general explanation of Brady. That would be pointless. We all
know the basic framework of Brady versus Maryland. And that
would be incredibly inefficient.

But I think in this case there are three aspects of
Brady that we need to focus on. One is the definition of what
is exculpatory. We apparently don't agree with the government
on that point. At least their response to us indicates that
they don't agree with us as to what is exculpatory.

Second, there seems to be disagreement between the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 16 of 182 PagelD 1917

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16

 

 

defense and the government about the entity or people from whom
we are entitled to receive information.

And by that I mean, you Know: Where does the
government have to seek or obtain the exculpatory information
that they have to produce to us?

And third is the timing issue.

Those are the three basic problems and disagreements
we seem to have with regard to Brady.

It's interesting in this case that all the motions,
in a way, deal with the same topic. I was talking to Mr. Sadow
yesterday and I said it's almost like we have four sides of the
same coin in the motion to dismiss, the bill of particulars,
the Brady motion, and the motion in limine that's pending.

With regard to the Brady motion, what is exculpatory?
It is our position that the emails that we filed to you on
Friday are the quintessential Brady information.

The emails were filed in connection with our -- we
supplemented our response to the motion in limine. That's the
pleading we attached it to. There were seven emails that we
attached to that which were part of the Brady disclosure to us,
part of what the government provided to us.

And it is our position that in a case such as this,
and what this case is about primarily -- almost exclusively,
but I'll say primarily, because there's some wiggle room there.

Those emails are the essence of the defense in this

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 17 of 182 PagelD 1918

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17

 

 

case. And yet the government's position appears to be, or at
least what they've written in their response certainly
implies -- they're really -- they're just -- there's some
Rule 16 out there, but it's not exculpatory.

Those emails include statements by people from Blue
Cross Blue Shield, internal emails between various
representatives at Blue Cross Blue Shield, supervisors,
executives, albeit in Missouri, who are discussing the Putnam
Hospital, which is one of the defendants in this case, the
Putnam -- one of the hospitals in this case, their use of
reference labs to do the testing and billing it through the
hospital.

And they explicitly say to one another it's not
prohibited by the contract. All right. I mean, that is our
entire defense in this case. That's our defense.

And yet the government's view, apparently, is it's --
that's not exculpatory. This is -- this is the victim in the
case, Blue Cross. The private entity is the -- this is not a
government case. This is not Medicare or Medicaid or some
ephemeral victim.

This is the insurance company executives
communicating with each other and coming to the conclusion that
pass-through billing, using the reference labs to do billing,
is legal under the contract.

Of course, it's not a crime in and of itself,

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 18 of 182 PagelD 1919

oo Oo Oo NO On BP COUN lUlU

NO RO RN DN DO NO FS FS FS BS SS a S| = = =
on BR WO NO | BDU HO DB nN TF OT BPR CO NO —

18

 

 

obviously. The question is whether it was fraudulent. And
they conclude that they -- that the hospital was permitted to
do this under -- under the contract with the hospital.

And then they -- the emails, if you read them, you
know, they then say, well, what we're going to do is we're
going to unilaterally change the contract now, so that we can
stop this practice, because we don't want them doing that.

So they then -- and that's what they do. They
unilaterally change the contract. And you'll hear, you know,
if necessary, that this actually happened with other private
insurers, too. They also changed their contracts to explicitly
prevent this pass-through billings process by which
reference -- sophisticated laboratories were doing the
confirmatory tests.

Judge, this is a -- it took me a long time to
understand this. And if some of this is confusing and you want
me to slow down, I certainly will. But the bottom line is that
these emails absolutely authenticated what we were doing,
absolutely approved what the hospitals were doing.

They explicitly stated it was permissible under the
contract; therefore, we should just unilaterally change the
contract so the hospitals can't do it anymore.

And then they go on and say we need to get -- you
know, to see if we can get the U.S. Attorney's Offices

involved. And they even opined with each other, even if

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 19 of 182 PagelD 1920

oo Oo Oo NO On BP COUN lUlU

NO RO RN DN DO NO FS FS FS BS SS a S| = = =
on BR WO NO | BDU HO DB nN TF OT BPR CO NO —

19

 

 

there's no crime involved here, maybe they will -- maybe the
U.S. Attorney's Offices around the country will help us do the
investigation in this case and figure out what's going on.

I'm not saying that this is a directed verdict. But
how can anybody look at those emails -- how could the
government -- anybody on the government's side have looked at
those emails and thought anything other than Brady? It had to
have been the first thing that came to their minds when they
saw those emails. So that's part of what we contend is the
actual Brady information.

The second thing is something that Mr. Sadow is going
to spend more time talking about, which is the data, which they
also learned about -- the government learned about and also
claim is not Brady.

The data is the method by which the hospitals and
laboratories would communicate with the insurers, Blue Cross
Blue Shield, and would -- it's all done on the computers. It's
all done with, you Know, ones and zeros and dots and dashes.

But the communication between the hospital, slash,
laboratory and the Blue Cross Blue Shield identified the
reference laboratories. Okay?

So not only do you now -- and, again, I'm going to
pass right over that, because that's Mr. Sadow's. I'm not
going to trespass on his argument.

Not only does the government -- excuse me. Not only

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 20 of 182 PagelD 1921

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20

 

 

does Blue Cross and Blue Shield think it's legal what they're
doing, they're being told what's happening by the -- by the
hospitals and the laboratories.

And the significance of that is not only that Blue
Cross knew, because, I don't Know, maybe they didn't read it.
The significance is that we told them, which is the antithesis
of fraud. We told them it was a reference laboratory.

THE COURT: So the -- I guess the question is that --
to the extent these -- this communication and this data is
something that you find favorable to the defense, I guess the
question is -- or one of the questions would be: What's the
source of it and -- because you're contending that the
government had a duty to turn it over as Brady, I guess,
earlier than it did, because you have it now.

But what was -- so, for example, these emails -- and
I read the motion, but it's now -- I'm not sure I remember the
answer. Where did these emails come from?

MR. SAMUEL: Well -- the emails?

THE COURT: Yeah.

MR. SAMUEL: Well, the government gave them to us
last Friday.

THE COURT: All right.

MR. SAMUEL: Right. They gave -- I'm sorry. That
may be the wrong day. Friday or Thursday or Wednesday -- last

week. We filed the motion Friday with the emails.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 21 of 182 PagelD 1922

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21

 

 

I think it was Wednesday or Thursday we got some of
them. It's been over the course of the last two or three
weeks, four weeks.

THE COURT: Right. But what I'm saying is what was
the source -- where --

MR. SAMUEL: I can't tell you where the government
got them from. I don't know for sure. I assume it came from
the U.S. Attorney's Office in Missouri. And I assume the
U.S. Attorney's Office in Missouri got it from Blue Cross Blue
Shield.

But my assumption is only that, because we -- we --
well, there's Bates stamps -- there's some confusion about the
Bates stamps.

THE COURT: And so --

MR. SAMUEL: But I want to be clear I don't know the
answer to that, because I --

THE COURT: Because -- because there is a civil suit,
right?

MR. SAMUEL: That's correct.

THE COURT: And there's a summary judgment motion --

MR. SAMUEL: That's correct.

THE COURT: -- that y'all are interested in and so
forth? Is it likely that that's where the emails came from?
Or do you think they came from somewhere else? Or you just

don't Know?

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 22 of 182 PagelD 1923

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22

 

 

MR. SAMUEL: I think that the majority were included
in a PowerPoint presentation, which we attached to our motion,
which was provided by the defendants in that case to the
U.S. Attorney's Office; not in the civil litigation, but to
dissuade the U.S. Attorney's Office from going forward.

The motion for summary judgment, of course, is in the
civil case. And I think a number of the emails are also
included there, all of which were filed under seal. So it
wasn't until literally the eve of this hearing that we were
able to see most of those, when the government turned them
over. So they got them somewhere.

It may very well be that that question should --
better directed to the government, because they gave them to
us. And maybe they know a couple of generations back the
provenance of those emails.

THE COURT: All right.

MR. SAMUEL: Can I -- if I can -- and I certainly
obviously want to answer all your questions. There's a third
aspect to the "what is exculpatory" that the government seems
to disagree with us, and that is the fact that a lot of this
information apparently was not given to the government by the
insurance companies.

And to me that is also exculpatory information. I
Say apparently. I'm going to be very careful not to make

representations to the Court that I'm not willing to absolutely

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 23 of 182 PagelD 1924

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23

 

 

vouch for.

But there's a lot of information we have discovered
was given to the government -- for example, in this case --
very late in the game. And the question is why.

If the government sought from the insurance companies
everything related to this case, and -- either through grand
jury subpoenas or voluntary disclosure, and Blue Cross Blue
Shield wasn't revealing this information, either the data
stream or the emails or their conclusions about pass-through
billing, or the prior contracts that permit -- why was the
insurance company not telling the government?

We think -- we believe that that failure to reveal
that to the government -- it's not the government's fault, but
the government now knows that the insurance company was not
sending that information. So that's Brady information. So

that's category one.

What is exculpatory -- where do we disagree as to
what is exculpatory? It's the -- the hiding of information
from the government -- may be too strong a word -- the data,

and the emails, and the conclusions of the Blue Cross Blue
Shield.

And, of course, it's not just these documents. As I
explained in the brief, it's the information. It's the
conclusion of Blue Cross as to what they believed about

pass-through billing and the contracts, about what they

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 24 of 182 PagelD 1925

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24

 

 

believed about the legality of what the hospitals were doing,
and about their efforts to reform the contracts to make it
clear what the hospitals could and couldn't do. That's the
Brady information, not the individual e-mail with one sentence.

All right. I mean, the government is like, Well, if
you look at this sentence, it's not that exculpatory.

That's not the point.

The point is that Blue Cross knew that pass-through
billing was happening, and apparently thought it was okay under
the contract. So that's category one: What is exculpatory?

Second, from whom we are entitled to get it. We
clearly disagree about that, the government and the defense.
And I've cited -- I mean, I just start string-citing cases with
fairly long annotations towards the end of the brief talking
about the duty of the government not to play ostrich, not to
put its head in the sand when they realize that there's
exculpatory information out there, and to certainly cooperate
with other U.S. Attorney's Offices that are related in the same
type of case with the same defendant.

We have one defendant who's pled guilty in both --
pled guilty, Rule 20'd over to here; you Know, one of the
coconspirators. We have -- the hospital is in both cases.
They've met together. They've talked together. And the agents
are all working together.

It seems odd that the government would say, well, we

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 25 of 182 PagelD 1926

oo Oo Oo NO On BP COUN lUlU

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25

 

 

don't have anything to do with Missouri. You know, they're --
you know, they're halfway across the country. And so we don't
have a duty to get the information from them.

I think not only do they have the duty to get it,
they have, in my opinion -- the law, I think, supports my
opinion, for what it's worth.

They have a duty to affirmatively go to Missouri and
say, You need to share the Brady information with us.

Missouri decided not to prosecute this case. They
declined a prosecution after looking at this information. They
decided, whatever's in their mind, not to prosecute.

There's no crime at all, maybe they thought. It's
too weak of a case. Maybe's what they thought. Who knows what
they thought.

But for sure they reach a conclusion that they
weren't going to prosecute. And for the government to say we
don't know anything about what's going on in Missouri, we have
no duty -- okay?

Now -- I can hear them laughing next to me here. And
I apologize for -- if I'm being humorous to them. But the fact
of the matter is they've now turned it all over only because we
demanded it, because we started getting hints that this
information was out there.

And that brings up a topic of -- you know, the

government, in their brief, seems to suggest: What is this all

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 26 of 182 PagelD 1927

oo Oo Oo NO On BP COUN lUlU

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26

 

 

about? We've turned everything over to them. We've given them
everything. They've got everything. What kind of Brady
violation is it when we've turned over -- everything over to
them?

The Brady violation is they didn't turn anything over
to us, not one piece of paper, until Mr. Sadow started making
demands and saying, We want to see this supposed PowerPoint
that was shown, because we heard about a PowerPoint.

We've looked online and PACER. We've seen a redacted
motion for summary judgment. But the whole guts of it isn't
present on PACER. What's going on in Missouri? Right?

And this is in late March -- Steve -- Mr. Sadow will
correct me -- late March, early April. What is going on? What
is over there?

That's when the government went over there -- you
know, I don't want to -- well, that's when they did it. And I
don't think there's anything in this record that would support
a conclusion that they were going to do it anyways and it was
just a coincidence that we asked and that's why they did it.

They weren't going to do it, in our opinion. They
had no intention of providing anything from Missouri, not --
and I'm not -- this is not an in persona -- not a -- I'm not
making an argument personally. I hope it's not taken that way.
And I hope you don't take it that way.

But I don't believe the government intended to go to

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 27 of 182 PagelD 1928

oo Oo Oo NO On BP COUN lUlU

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27

 

 

Missouri and get this information and provide it to the defense
until we demanded it.

So this notion in their response brief, you Know, No
harm/no foul, they've got everything; in fact, you know, we
gave it to them a couple of weeks ago, is a rather odd argument
without coupling it with the recognition that it was never
going to be given to us until we demanded it. And it was in
the government's possession and not our possession.

So it is our position they have an absolute duty to
go to Missouri and any other U.S. Attorney's Office in the
country that's involved in this investigation of hospitals, an
absolute obligation. They are the government.

Especially given our friend on the phone here who's
with DOJ who -- I think it's safe to assume is -- is monitoring
what's going on in these cases nationwide. He's on emails
coming out of Missouri, coming out of Blue Cross to -- excuse
me, yes, coming out of Blue Cross in Missouri straight to
Mr. Winters in Washington. He knows what's going on over
there. And he should. He's responsible. He's the DOJ, kind
of, you know, the umbrella organization in this -- in this
case.

So it's all part of the government. They're all
doing this investigation. And they can't parcel it out and
compartmentalize it and say, Well, the information in Missouri

is Missouri. You Know, okay, you asked for it. We'll go get

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 28 of 182 PagelD 1929

oo Oo Oo NO On BP COUN lUlU

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28

 

 

it.

There's something going on in Ohio. The emails
reveal that there's stuff going on in Ohio, California. We
don't Know where else. That's the problem with Brady. We
don't know what to ask for, which is why we seek the remedies
we seek at the end of our Brady motion.

Also included -- and this is a little more difficult,
I recognize, with the -- who has got the duty. We believe that
Blue Cross at this point has the duty.

Now, there are plenty of cases that say private
parties aren't part of the government, they're not part of the
prosecution team. But this -- Blue Cross Blue Shield isn't
like, you Know, someone walking in the park who gets mugged.

Blue Cross Blue Shield had -- had participated in
interviews, participated in the production of information,
was -- was intimately involved, the best we can tell, in all
aspects of this case with the government.

They have former FBI agents working in their -- they
call them the SIUs, the special investigation units. They have
a -- you Know, they are -- to use the 404(b) lingo, they're
inextricably intertwined with the government in this
investigation, and -- which is why we seek in our remedies that
the government in this case, having first said, Well, Blue
Cross never gave us this stuff -- right? That's one of their

arguments in their brief. We never had this until we got it

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 29 of 182 PagelD 1930

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on BR WO NO | BDU HO DB nN TF OT BPR CO NO —

29

 

 

from Missouri, even though Blue Cross had it -- that we seek in
our remedies that Blue Cross should be required to produce
anything more along these lines. They should be subpoenaed by
the government or come to court here and say what else is out
there.

You claim to be the victim in this case. You know,
you had civil cases with millions of dollars in damages, you
know, and you have an obligation in this case to produce
information that is -- that is exculpatory or that's at all
relevant.

We don't -- listen, we -- you know, one of the things
the government said to us a while back was we'll file 17(c)
subpoenas.

We filed one, what, in late March? And right now
they've gotten an extension until, like, the end of May or
early June to respond, which will probably be when we first
start seeing objections.

We can't use Rule 17(c) and be ready for this trial
anytime this year if that's the government's response. We're
not going to go to Blue Cross. We're not going to the
insurance companies, you know, getting all this exculpatory
information. We're not going to go and do your job for you.
You go use your 17(c) subpoenas.

And the result of that will be we'll -- you know,

respectfully, Your Honor, we'll never try this case in

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 30 of 182 PagelD 1931

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30

 

 

September, because we're going to be fighting with the
insurance companies over what they have to produce and, you
know, the delays that they're going to cause, as civil
litigants are wont to do.

So -- and, finally, on this second topic of, you
know, from whom are we entitled, you know, I would point out
there are cases -- I meant to -- one of the cases in my brief
talks about once problems arise in Brady the court has the
right to believe it's the tip of the iceberg.

And I -- and I may have used that language in my
brief on it, but I didn't cite the case that said it. I think
it was one of the Third Circuit cases that said once it appears
that things are not going as they should, once it appears that
things have gone awry for some reason, either a difference of
opinion about what's exculpatory or whatever, I'm going to
assume it's the tip of iceberg and we're going to get to the
bottom of this before trial, which is why I cite, you know, the
well-known Southern District of New York case and the D.C., you
know, Ted Stevens case and all.

That's why we seek the remedies we seek. Let's get
it done now, not after trial. Let's not do this in a 2255 and
find out what wasn't disclosed.

Third topic, timing. And then I'm going to, if I
can, turn it over to Mr. Sadow to some of the specifics. The

government forthrightly says in its brief that they first

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 31 of 182 PagelD 1932

oo Oo Oo NO On BP COUN lUlU

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on BR WO NO | BDU HO DB nN TF OT BPR CO NO —

31

 

 

started participating with Missouri -- I don't know when the
Byrns case was, but that was obviously a while back.

They first got wind of all this, the PowerPoint and
the exhibits, sometime in December -- right? -- which is now
five months ago, but more so in January. There's some
reference in their brief to learning about this in December,
but then finally, in January, they actually got the PowerPoint.

And the significance of the PowerPoint isn't that
it's a PowerPoint. It has all these exhibits embedded in it,
as -- you've got the PowerPoint. And I cite all the slides
that have all this exculpatory information in it. In January
they had that.

We've had status conferences since then. We have had
a gazillion pages of discovery submitted -- delivered to us
since then. And yet when I began my presentation by saying it
is the quintessential Brady, it wasn't turned over until we
demanded it, demanded whatever it is that's out there that we
haven't been given yet.

And then it suddenly starts coming, ahh, we're still

four months before trial. What are you -- what's the big beef,
is the -- is the government's response now.
The big beef is that when something is -- is, in our

opinion, and should have been in their opinion, that important
and that explosive, they should have taken the phone records

that were six trillion pages and put that on the back burner

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 32 of 182 PagelD 1933

oo Oo Oo NO On BP COUN lUlU

NO RO RN DN DO NO FS FS FS BS SS a S| = = =
on BR WO NO | BDU HO DB nN TF OT BPR CO NO —

32

 

 

and turned this over to us, and not do nothing for four months,
nothing.

And that timing issue concerns us. It concerns us
because that is why we believe it never was going to be turned
over. It's not just a coincidence that we filed a motion, you
know, and the information is produced. It was produced because
it was Brady and they knew it was Brady. They knew it was
Brady.

You can't look at these things and not recognize the
exculpatory value of the emails, the data, and the other
information in the PowerPoint.

So the timing issue is important. If this is all
there is, if there's nothing else out there, which we don't
believe, then we're still four months before trial, we're fine.
There's still a lot of data. We're going to have to get the
EDI from the different insurers, the EDI from different
hospitals, or the billing companies.

There's no way there's not more out there. It
couldn't have just been seven emails between them, between the
Blue Cross people. And, again, they're talking about the same
problems going on in Ohio. There's emails with DOJ, all of
this stuff still missing from the disclosure to us.

And the timing is important. To just say, you know,
here we are four months before trial, no harm/no foul is not an

answer. I would suggest that the Court inquire what was going

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 33 of 182 PagelD 1934

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33

 

 

on during those four months, or what was going on between, you
know, January, whatever date it was, you know, and April 24th,
whenever it was -- 23rd, when it was produced?

So, Your Honor, those are -- that's the outline of
our Brady argument. If you want to get into the actual details
of other documents, we would like you to. Mr. Sadow is going
to address those.

THE COURT: Well, I -- I'm happy to hear from
Mr. Sadow. I mean, we're -- I mean, I think -- I appreciate
your presentation. But I think we need to get Mr. Sadow up
here if he's got something extra to say. And then we'll go
from there.

All right. Thank you.

MR. SADOW: And if the Court will allow me, I'd like
to take my mask off. I, again, am also fully vaccinated.

THE COURT: That's fine.

MR. SADOW: I'm Steve Sadow. I represent
Mr. Fletcher, along with Vince Citro. Your Honor, I'm going to
be very specific, because Mr. Samuel has obviously carried the
ball as far as what Brady is.

I got lucky. I managed to open up a dialogue with
one of the attorneys in the Western District of Missouri in the
civil case who referred me to the criminal defense attorney for
one of the individual defendants in the Western District of

Missouri civil case, what's called the RightCHOICE case.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 34 of 182 PagelD 1935

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NO RO RN DN DO NO FS FS FS BS SS a S| = = =
on BR WO NO | BDU HO DB nN TF OT BPR CO NO —

34

 

 

And upon talking to that individual, that attorney, I
asked him if there was anything that he could share. And he
said, yes, he could share there had been a PowerPoint presented
to the Western District of Missouri U.S. Attorney's Office.

And that PowerPoint was very strong. It contained favorable
information, Brady information.

And he was waiting at that point for a decision as to
what the Western District of Missouri U.S. Attorney's Office
was going to do.

That began essentially my e-mail writing to the
government in this case, asking them about the PowerPoint. I
was trying to stay on top of what was being filed in the
Western District of Missouri, the RightCHOICE case, and began
asking them about that.

The responses that I was getting back essentially at
that point was, We're not going to give you the PowerPoint
because we don't have to. We don't have the other documents
that you're speaking of. We're a separate investigation from
the Western District of Missouri.

And then we got more information, the PowerPoint.
After the individual was not to be prosecuted in the Western
District of Missouri, that individual reached out and gave us
the PowerPoint.

So then we first -- that was the first we knew what

was in there, the emails, the EDI 8371, which stands for

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 35 of 182 PagelD 1936

oo Oo Oo NO On BP COUN lUlU

NO RO RN DN DO NO FS FS FS BS SS a S| = = =
on BR WO NO | BDU HO DB nN TF OT BPR CO NO —

35

 

 

institutional transmissions, the ZirMed software data that was
transmitted. And I began being more focused in my emails.

And what concerns us at this point is the
presentation of the PowerPoint to the U.S. Attorney's Office in
Missouri was on December the 16th of 2020. This office,
according to its response to our Brady motion, received it
sometime in January of 2021.

I've been doing this a long time, and I know the
Court's been on the bench for a long time. I've just got to
ask one question: What are they waiting for? Why didn't they
provide us the information -- if they weren't going to give us
the PowerPoint, fine.

But why wouldn't they tell us about the favorable
information in there in January or in February or in March,
when I started writing the emails? Why was it only in April,
just before we were going to have this hearing, that material
started coming in?

Your Honor set a date for which motions had to be
filed. And, basically, that was based on the idea -- and we
don't have a transcript. But my recollection, and I shared
it -- discussed it with other lawyers, is that the government
had indicated to the Court that we had about 99 percent of the
discovery at the time we had our last conference, which is why
the Court set dates that it set both for retained counsel and

appointed counsel that still needed more time.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 36 of 182 PagelD 1937

oo Oo Oo NO On BP COUN lUlU

NO RO RN DN DO NO FS FS FS BS SS a S| = = =
on BR WO NO | BDU HO DB nN TF OT BPR CO NO —

36

 

 

But that data never came. The information never
came. It never got entered into the motions that we filed.

The government files a motion in limine to stop us from blaming
the victim. And we don't even know that these emails exist or
this data exists.

So what's the concern right now, that, for whatever
reason, the government doesn't see this as favorable
information. I don't know why, but they don't. And,
therefore, the concern that I raise to the Court is: What else
is out there?

But I know what else is out there. I'm not just
speaking that I'm guessing. There was -- and I have a copy of
it if the Court wants to see it.

In our motion we talked about: Is Anthem, is Blue
Cross Blue Shield, hiding information from the government?

And the answer in the government's response was
they're not hiding, but then they don't say anything more than
that.

There is an FBI 302 -- and I'm sure the Court is well
aware of what a 302 is, so -- dated -- September 21st of 2018,
there was a conference.

Now, this is in the midst of the investigation. This
is September of 2018. In that conference is an FBI agent --
two FBI agents, someone from the Office of Professional

Management named Derek Holt, who literally started the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 37 of 182 PagelD 1938

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37

 

 

investigation back in 2016 which winds up in this case.

Mr. Duva; Mr. Winters; Mr. Hayes; a Zachary Zabo from
Anthem Special Investigative Unit; Linda Kearney, the in-house
counsel for Anthem, which is Blue Cross Blue Shield; and Nate
Moore, the attorney representing Blue Cross Blue Shield.

And they had a conference. And at that conference,
what the government was asking -- not just Mr. Duva, but
Mr. Winters specifically were asking: What data is transmitted
by the hospitals to Anthem, to Blue Cross Blue Shield?

And if the Court looked at the memo -- or the 302,
you would see they couldn't get an answer. They kept getting
the word -- "We don't know. We have to check. We don't know.
We have to check. We don't know. We have to check. We'll get
back to you."

They never did. They never got back to them.

Whether the government didn't follow up or Anthem and
Blue Cross Blue Shield didn't give it, we now know what data is
in their possession, or should be in their possession, which
goes back to this EDI ZirMed data.

The government responded to one of my emails by
saying, We don't have any documents that reflect that LifeBrite
is in any of the information that was turned over to Anthem,
Blue Cross Blue Shield."

But I do. I managed now to come forward with it

with -- indicating -- and I have documents for the Court and

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 38 of 182 PagelD 1939

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38

 

 

for the government to show them that LifeBrite is mentioned in
Putnam County transmissions and that LifeBrite is mentioned in
Regional transmissions.

This data I managed to get by having someone in India
look it up for me to see whether or not it was transmitted in
the same way that the Sero data that is in the stuff that the
Court has, the PowerPoint and the exhibits. And it exists,
which means it exists in Anthem, and it exists in whoever it is
for Regional.

This is how it was transmitted. We don't have it.

If we had not gone into this, if we had not gotten lucky -- if
I hadn't gotten lucky enough to have a lawyer kind of point me
in the right direction, with all due respect to the government,
we would never have known this existed.

It can't be that way when we're talking about people
that are on trial for their liberty. And our concern is that
there are other things like this that the -- for whatever
reason the government chose not to follow up on, that may be in
the files of the insurance companies, or the insurance
companies just chose not to disclose.

I'd almost like to make an exhibit of the memo,
because it's amazing. The government asked specifically: What
information did you get?

And they said, Well, we generally put it on a form.

No, no. What information did you get?

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 39 of 182 PagelD 1940

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39

 

 

Well, we don't know. We'll have to look into it.
We'll get back to you.

They never did. And if we're going to have a process
where the Court -- and I know wants to give us nothing but a
fair trial, assuming we get to that point, we've got to make
sure that we have all of the evidence that is favorable to the
defense that we can put forward.

We have now -- I've also uncovered in that same 302
the definition of what we have called a type of bill 141, which
is loosely referred to as nonpatient. And I'm not going to get
into all that at this point.

But they ask about that when they're on the phone
with these people. And the definition that they give during
that is different than their expert's definition now and other
statements that we've gotten.

So there is a considerable amount of -- of evidence
out here that deals with the transmission of this EDI data,
these emails.

And I can tell you we don't have all the emails that
have -- in there, because I've managed in some form or fashion
to get some of those. And the government didn't turn them over
to me.

What has happened is the government, because they
were pushed, went to the Western District of Missouri U.S.

Attorney's Office and said, What do you have that we don't

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 40 of 182 PagelD 1941

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40

 

 

have? And they received it. But they've made no effort -- and
we think -- this really is a joint investigation.

If you saw this -- this 302 and go back to SIU, the
Special Investigative Unit, Blue Cross Blue Shield of Florida
was involved in this from the very beginning. They've been
working this case since 2016. We're suggesting that there is
data that the insurance companies have that the government
should already have but doesn't.

And what I'm asking the Court to do is basically call
the insurance companies in and say, Look, you're going to
supply this data. You're going to supply the data at this
timetable. We don't want to hear anything more about how broad
it is and so forth. Supply it immediately. Turn over the
emails that deal not just with Anthem and Putnam, RightCHOICE,
but with Regional, with CGH, all the hospitals, that we get to
the bottom of all of this, and whether this information is
available and can be used by the defense.

And that's -- to sum it up, do I think the government
is engaging in any misconduct? I do not. In fact, I was
trying to do everything I could to make sure it was clear to
them in my emails that I wasn't accusing them, that I believed
that it existed out there and it was their obligation to get
it.

Do I believe that there is something going on with

the insurance companies? 150 percent. They've got information

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 41 of 182 PagelD 1942

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41

 

 

they don't want other people to know about, particularly the
government.

That's why all these exhibits are sealed in the
RightCHOICE civil litigation. Those exhibits are exactly what
it is that we're trying to get our hands on. But they're
sealed.

And, in fact, even the fact that the PowerPoint has
been made available, which is not part of that civil, they have
now filed a motion to show cause, RightCHOICE, BCBS, Anthem, in
the civil investigation, to show cause why the defense in that
case shouldn't be held in contempt for allowing the information
to go into a PowerPoint that was presented to the government in
order for the government to decline prosecution in the Western
District of Missouri.

That's the extent that they're doing now to try to
make sure some of this information doesn't get out. So I'm
asking the Court, with the Court's help, to tell the government
it appears that this information is favorable, you're a little
stingy in what you think Brady is. We want -- we want the
insurance companies to come forward with all of this
information, and we want you to get it from them.

As Mr. Samuel said, if we go a subpoena duces tecum,
a pretrial subpoena, we'll be lucky if we get the objections
decided by July or August, let alone start getting the data.

THE COURT: What is the status of it, the Rule 17?

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 42 of 182 PagelD 1943

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42

 

 

MR. SADOW: They've all -- every one has so far filed
for an extension in which to determine whether they're going to
comply or file objections. In my personal communications with
them, we're going to get nothing but objections. They're not
going to turn over what we've asked for so far. They're going
to object.

THE COURT: And what's the timing on that, in terms
of --

MR. SADOW: Right now they've asked for, I believe,
the end of May.

THE COURT: And that's -- and I should know this.

MR. SADOW: That's for the in-network versus
out-of-network actual documentation of different rates. One of
the counsel for insurance companies said, You have no idea how
many different rates. It's not the same. It varies per
contract. You're talking about thousands and thousands of
pages, if we ever have to turn over anything to you.

THE COURT: All right. Thank you.

MR. SCHWARTZ: Judge, I just have something really
brief to add, please. Seth Schwartz on behalf of James Porter.
I've also been fully vaccinated, sir.

Just real quick, since the government made contact
with my client in May of 2019, I've been asking for the native
billing, the actual raw billing that was sent from the biller

to the health care companies.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 43 of 182 PagelD 1944

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43

 

 

I repeatedly asked. I've asked everybody involved in
this case on the prosecution side, although I may not have
asked Mr. Hayes directly, but I know I've spoke with Mr. Duva
repeatedly and Mr. Winters about that.

What they told me is that they don't have it. And
then recently I received a phone call from Mr. Winters and
Mr. Hayes on the call, in response to a motion that I filed
indicating that we still didn't have the billing in a billing
fraud case.

They told me at that point there's 12 Excel
spreadsheets that are in the government's production -- I had
only seen two of the 12 -- but that is the native billing.
These are some of the biggest companies in the world. And the
government's taken the position that the native billing, the
raw data, is kept and transmitted through Excel spreadsheets.
I said okay and continued to essentially ask for the native
billing.

I have approximately -- Bates numbers that are
approximately 210,000 Bates numbers, although they're not al]
sequential. But I am in possession of a good amount of native
billing that I recently discovered as part of the civil
litigation.

I am under a protective order in the Western District
of Missouri and the civil case. So I have been unable to

release that information to the defense and to the government.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 44 of 182 PagelD 1945

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44

 

 

But I have some of it with me here. And that billing --
essentially the way it works, with each text file is a packet
of billing that goes out.

Sometimes those pages can be as small as 10 or 12
pages. And it can be as large as 250 pages. And on those
pages, it lists at the top of each packet, the beginning of
each packet, the submitters, which are essentially the
reference laboratories in this -- in this case.

There's a number of reference laboratories that are
listed in the billing that I have. Not all of those
individuals are codefendants in this case. But, for instance,
today I have a pile with LifeBrite on it and a pile with
Pinnacle on it. Again, I am unable to release that information
due to the protective order.

Let me talk about that for a second. So in February,
a little over two months ago, I started negotiating with Blue
Cross pursuant to what the Court wanted us to do, and come up
with a consent order on how to modify the protective order in
the Missouri case so that the information could be used in this
case.

Blue Cross basically said, Sure, we'll figure it out.
What we're worried about is protected health information,
individuals' information that may be on these documents, which
is, you know, names, date of birth, Social Security numbers,

addresses, things like that.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 45 of 182 PagelD 1946

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Recognizing the vast volume of the billing, which I
estimated to be probably north of a million pages, it's
impossible to go through and redact all of that information,
especially because there's a lot of, you know, computer code
and things like that that you -- when you looked at it, you can
make it out, but it's not the easiest thing in the world to
find.

So we started going through that. We had some issues
come up that each party had to deal with independently. But my
understanding is that Blue Cross was, you know, going to act in
good faith and come up with some type of agreement.

In fact, counsel for Blue Cross advised that he had
talked with Mr. Winters to see if Mr. Winters would have an
objection to strengthen in the protective order in this case so
that would make, you know, Blue Cross feel a little bit better
that it was, you Know, consistent, or at least somewhat
consistent, with the Missouri case.

Last week -- and regularly I was following up with
Blue Cross, usually every week or so, maybe every few days, on
what's going on with it, talking to clients, We'll get it
worked out.

Last week I advised, Listen, you know I have a
hearing on the 27th of April. I need this order. Let's get it
done. And what I was told is, My clients aren't going to agree

to it, period.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 46 of 182 PagelD 1947

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46

 

 

So I said, I've got to file a motion.

They're like, File your motion.

So we filed the motion that day. The Court, I
believe, gave until May 5th for suggestions and response. And
the Court will rule on it at a later date.

They know what this is. They know my client is
entitled to it constitutionally. They know it's exculpatory.
They led me to believe that they would work with me. There's
no reason for them not to. And then last minute, when it was
too late to essentially file a motion and get a ruling prior to
that, they basically said, Yeah, we're not -- we're not going
to do that.

So that follows into another issue. And one of the
big cases that has been cited by the defense in this case is
the Little River case, which is the arbitration that was done
in Texas with Blue Cross Blue Shield of Texas that was -- the
decision was authored by a former Texas Supreme Court justice
after a lengthy arbitration. In that case Blue Cross sought to
seal that entire file and that result.

I was advised by the attorney that represented the
hospital in the Little River case that Blue Shield -- or Blue
Cross and Blue Shield of Texas actually offered several million
dollars to the hospital to agree to a seal and the hospital
declined, because the information out there was so important to

release to the public.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 47 of 182 PagelD 1948

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47

 

 

It seems that they have this history of trying to
hide information that is super relevant to these type of
claims, and definitely relevant to this case.

Now, their request to seal was before the indictment
in this case dropped, but they're pursuing similar indictments
across the country for similar claims as -- as in this case.

The other thing that I've requested from the
government, and this was discussed during the December status
conference we had with this Court, are the provider manuals.

And I asked about, you know, the provider manuals.
The importance of the provider manuals is they go hand in hand
with the contract. And the contract says what a provider can
and cannot do.

The provider manual is hundreds and hundreds of pages
and very detailed on what's allowed, what's not allowed, what
have you. They indicated to the Court that that would likely
be the last discovery. They were going to get it.

A couple of weeks later I get a call. I can't
remember who it was from. But they basically told me, Yeah, we
can't figure out what provider manuals to use. There's
thousands of them out there. So we're just not going to
produce them.

And I said, All right. So I went back into my office
and it took me about an hour to find one. I wanted the

government to produce it, because, one, I didn't know if I'd be

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 48 of 182 PagelD 1949

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48

 

 

able to find it that easy, and, two, that way at least there's
a BOC associated with it, so I don't have to call, you know,
somebody at trial to authenticate this manual.

But all they had to do was pick up the phone and call
Blue Cross or issue an investigative subpoena saying, Hey,
produce the manual. Blue Cross is in possession of that, as
are the other insurance companies.

Apparently they didn't do that. And that was
something extremely important. That is a very exculpatory
document also. And the reason is -- that it's exculpatory is
the contract that existed during the time in question and the
provider manuals are silent as to this issue of pass-through
billing and the way that the billing was done in this case.

But the subsequent versions of that specifically
disallow it. And so they're going to want to bring people into
court -- and they've indicated in the -- the government's
indicated in some of their motions that they're going to want
to bring people into court to interpret the contract as the
insurance company saw.

But it's very important to know that these manuals
are silent as to these issues. And then subsequent to the
relevant time period, they issue new manuals that replace the
original manuals and contracts that prohibit that conduct. So
it's super important, it's super exculpatory. And that wasn't

produced.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 49 of 182 PagelD 1950

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49

 

 

In the response that the government filed to the
Brady motion that was filed in this case, the government
basically says that Mr. Porter didn't file anything in the
civil case that indicated that, you know, he had this billing
or that the billing existed or anything else.

We have prepared a very detailed motion for summary
judgment, but we -- we resolved the case with Blue Cross and
Blue Shield. The docket will reflect that there were a number
of joint motions filed with the Court asking to extend the
deadline to file our summary judgment motion, because we were
engaging in settlement discussions. It will also reflect Blue
Cross discharging my client and voluntarily dismissing the
claim.

Litigation is expensive. And sometimes things make
sense. It's absolutely no bearing on whether we believed that
my client's defenses and claims were meritorious or not. It
just made sense to do what we did.

But when they're making claims in their response
basically saying that, you know, Porter didn't file anything in
the case identifying that these things existed, they're making
assumptions that are just false.

And the important part about it is that this is a
billing fraud case. The entire base of this case is based on a
billing issue. And they have yet to produce any of the native

billing. And literally I've been asking for it for about two

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 50 of 182 PagelD 1951

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50

 

 

years.

The information that I have is not all encompassing
with the other -- the other insurance companies. It is limited
to Blue Cross and Blue Shield. And I know for a fact that
native billing is not transmitted via Excel spreadsheet.

And, finally, the -- the big issue, and the reason we
want the native billing and not some Excel spreadsheet, which
is just a summary, is that when you look at those spreadsheets,
the information that is contained in the actual native
billing -- some of that information is not on those
spreadsheets, which is talking about the labs that did the
testing, and, you know -- like, for instance, the one I have
here is LifeBrite and my client's lab Pinnacle.

That information does not show up in the Excel
spreadsheet, because somebody had to tell the Excel spreadsheet
what to import based on native data that they had in their
possession.

So I think that the -- the information that has been
presented in this motion is extremely important. The
information is absolutely exculpatory.

I agree with counsel that Blue Cross, I believe, is a
bad actor in this, that they're aware that these things are out
there and they're doing their best to conceal that, not just in
the Western District of Missouri case, but in other cases that

they're litigating in, because they just don't want that

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 51 of 182 PagelD 1952

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on BR WO NO | BDU HO DB nN TF OT BPR CO NO —

51

 

 

information out there.

And so I would ask the Court to grant the motion and
allow the -- the government to -- or have the government
produce this information that they have.

I also agree with counsel on the Rule 17 subpoenas
that being -- doing it that way is a very cumbersome and very
difficult way to get this done.

Thank you.

THE COURT: Thank you.

Anybody else on the defense side want to be heard on
the Brady?

MR. LANDES: I'd just like to be heard briefly,
Judge, if I can.

THE COURT: Yes, sir, Mr. Landes.

MR. LANDES: Judge, I'm taking my mask off. I've
been fully vaccinated, like the others that have spoken.
Richard Landes appearing on behalf of Ricardo Perez.

Judge, cutting to the chase, the whole thrust of the
government's case is that these large health insurance
companies were somehow fooled or duped by all the defendants
into paying these bills that they otherwise would not have
paid.

And now, after this PowerPoint presentation, evidence
that, in the raw data form -- which, by the way, are called

837I transmittal forms. Other counsel have shown them to you.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 52 of 182 PagelD 1953

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NO RO RN DN DO NO FS FS FS BS SS a S| = = =
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52

 

 

I have some too. They're starting to leak out now.

On those forms -- this is the raw data, 837I
transmittal forms that were sent from the billing companies --
shows that there are independent labs that were doing the
testing, front and center.

Not only are they on these 837I transmittal forms,
but they are on something called a PDF, a readable version. If
you don't want to go through all the computer code here, even
though they're on the computer code, there are forms that are
readable.

And for the Court's edification, those are called
Liaison EDI forms -- or Liaison forms, because Liaison is a
software that's used if the insurance company wants to read
them.

So we know that -- now, how this works is the 837I
form goes to a clearinghouse. That's called ZirMed, which the
Court has heard. From ZirMed they're sent to the insurance
companies.

These insurance companies have to have these 837I
forms. And I agree as well, in the million-plus pages of
documents that we've gotten, we have never gotten these 837I
transmittal forms.

What we need -- or what I need is not the universe of
all the 837I transmittal forms that are out there. We need the

837I transmittal forms from the scope of this indictment, from

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 53 of 182 PagelD 1954

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53

 

 

the period from May of 2015 through February of 2018, from the
three insurance companies, the three so-called victim insurance
companies here, Blue Cross Blue Shield, Aetna, United
HealthCare, as they relate to the four rural hospitals here,
Putnam, Campbellton-Graceville, Williston, and Chestatee, and
as they relate to the defendant labs here, Pinnacle, Reliance,
LifeBrite, I believe B3, others.

That is what we need in order to cross-examine and
question these insurance company executives or witnesses that
are going to take the stand and say, We had no idea that --
that there were independent labs involved. We didn't know
this.

We need that information. I agree -- I don't think
that this is something that the government was aware of,
because I've seen government filings claiming that the
insurance companies didn't have any idea. The insurance
companies did have an idea. And this information is leaking
out. But we need this information from them.

I'm not going to go into the Brady violation. That's
been discussed. But in terms of discovery, at this point, that
very specifically is what we need from these -- these insurance
companies in order to prove our case.

Thank you.

THE COURT: Thank you.

Did I see somebody else on the Brady?

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 54 of 182 PagelD 1955

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NO RO RN DN DO NO FS FS FS BS SS a S| = = =
on BR WO NO | BDU HO DB nN TF OT BPR CO NO —

54

 

 

Yes, sir.

MR. BLAKE: May I approach, Your Honor?

THE COURT: Sure. I'm sorry -- yes. Go ahead.

MR. BLAKE: I've been fully vaccinated.

THE COURT: That's fine. Come on up. If you'll
please reintroduce yourself and remind me who you're
representing.

MR. BLAKE: Thank you, Your Honor. My name is Mark
Blake. I'm the individual who is subject to the contempt
motion for providing the PowerPoint, the pelican brief, and the
motion. I was also a target of this case.

After our attorneys provided the PowerPoint to the
Missouri AUSA, she elected and -- suspended the investigation.
I realized as time was going on -- I was holding off on
delivering the PowerPoint to defense counsel in this case.

But as it got closer and closer to this hearing, I
realized they were not going to get it and they were unable to
put the dots together. So I submitted the PowerPoint. And I
also submitted the motion.

The response, of course, from RightCHOICE in Missouri
is that they want to hold me in contempt for submitting the
motion.

I think the PowerPoint speaks for itself. It's a
great point that's being presented. The Court has seen it.

The only thing I would ask right now is that I would like to be

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 55 of 182 PagelD 1956

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able to tell Judge Kays in Missouri that I did ask that the
exhibits to the motion be sealed, so that I can show them that
I took remedial action and asked this Court to seal the
exhibits to the motion, the PowerPoint and the unredacted
motion for summary judgment that was filed on our behalf in the
Missouri case, because it's becoming a distraction, rather than
sticking along to the facts.

THE COURT: I'm sorry, sir. I'm not quite following
what you're saying to me. So --

MR. BLAKE: The --

THE COURT: And I didn't realize you weren't -- so
you're -- you're a lawyer?

MR. BLAKE: I'm a lawyer, yes.

THE COURT: And you represent who?

MR. BLAKE: I am a defendant -- I'm not in this case.

THE COURT: Right.

MR. BLAKE: I'm in the companion case in Missouri.

THE COURT: The civil case?

MR. BLAKE: The civil case.

THE COURT: A111 right.

MR. BLAKE: And a target of the criminal case, until
it was suspended after we presented the PowerPoint to the
Missouri AUSA.

THE COURT: All right, sir. And you're telling me

that you're the one that's the subject of the contempt motion

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 56 of 182 PagelD 1957

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56

 

 

in Missouri?

MR. BLAKE: For providing the PowerPoint, because I
believed that the insurance companies did hide the information
from the prosecutors. I Know they did.

Because when the -- our attorneys made the
presentation of the PowerPoint to the Missouri AUSA, they had
reported back to me that she was -- shell-shocked were their
words to me.

And so I did provide the information to defense
counsel, because they were clearly unable to connect the dots
as to what the carriers had been doing across the country.

THE COURT: And you're saying that they have now
filed that in this case?

MR. BLAKE: Yes.

THE COURT: And you're now asking me to --

MR. BLAKE: Seal the exhibits.

THE COURT: -- seal the exhibits to the PowerPoint?

MR. BLAKE: The PowerPoint and the motion for summary
judgment, which is the exhibits on the -- it's either the Brady
motion or the response to the Brady motion. Right now I'm a
little nervous because I typically don't speak in court. I'ma
business attorney.

THE COURT: I understand. Okay. So -- and that's in
the service of being able to tell the judge in Missouri that

you have asked me to do that?

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 57 of 182 PagelD 1958

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57

 

 

MR. BLAKE: Yes, Your Honor. I don't know if
there --

THE COURT: And have you spoken with any of these
lawyers about that?

MR. BLAKE: That I was going to ask? I wrote -- I
wrote an e-mail to the attorneys. I -- when I saw the motion,
I made a note on it to ask him to please seal it. I saw in
PACER that it had not been done.

So I don't know if they moved to seal it or not,
because the timing has come so fast from the time I got it.
And there's a room full of attorneys and prosecutors and so
forth. So --

THE COURT: Sure.

MR. BLAKE: -- I figured I'd just come and bring it
to the Court's attention myself, because it's distracting from
the merits of the case in Missouri. The criminal case is over
with and the civil case isn't.

But I'm the only one left, and my business partner.
Everybody else has either defaulted or settled. But we're not.
I never took the Fifth. And I am not going to settle. We're
taking it all the way to trial if the court doesn't give us
summary judgment.

But the court in Missouri is now aware of the ZirMed
data that you have now become aware of, that they have hidden

from the government and from the court, and lied to the court.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 58 of 182 PagelD 1959

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58

 

 

So for me to -- they indicted David Byrns based upon
a false reading of what the ZirMed data contained. And then,
unfortunately, the Missouri AUSA reported to the Florida AUSA
the same false information.

And then David Byrns signed a plea agreement that's
perjured. And now Blue Cross is using that perjured plea
agreement as a factual basis against me.

So there's a lot going on. The cover-up from the
carriers is grand, on a nationwide scale, Your Honor. These
lawyers are trying to do it, but they've only known the
information for a couple of weeks. And same with the
government. But I've known about it for over a year. And I've
kept quiet because it would not work favorably to the case,
until the Missouri AUSA suspended the investigation.

She could have indicted me along with everybody else.
She didn't. But she was the only person that got all of this
information. The government here, the AUSA, never got to see
it at the level that we were able to find it and get the ZirMed
data.

So in the end, we're -- if this Court grants the
relief that these gentlemen are asking for, and require the
carriers to come and speak and say what they knew and when they
knew it, along with the attorneys -- I didn't realize that Nate
Moore's name is in this 2018 document.

So he's been involved in Little River. He's involved

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 59 of 182 PagelD 1960

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59

 

 

in Missouri. And he's involved in Florida. So the lawyers are
guiding this too, Your Honor.

So there's a lot here to -- for the Court to
consider. And here I am, johnny-come-lately, with a pelican
brief that exposes everything.

And it's hard to take in. I understand that. But I
do know that when it all settles out, even from that memo in
2018, the carriers knew that ZirMed data disclosed everything.
They just didn't like it.

They agreed the contract allowed it. They continued
to pay the claims. But what they did is they modified the
contract to reduce the payment.

So by doing that, they continued to pay the claims.
They never defaulted the hospital. I was part of one of the
laboratories, the blood laboratory. I never heard anything
from the carriers. I never heard anything from the government.

My wife got served with a lawsuit that said that they
were being billed as inpatient services and that the patients
were at the hospital. It was just a complete lie.

So when we took their depositions and they figured it
out, that that was true, they amended the complaint and then
said, in the most recent complaint, that the claims were being
submitted on a form UB-04, which is what a hospital submits to
the claim -- on the claim, and, by doing that, it omitted the
name of the labs, and that's the fraud. That is false.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 60 of 182 PagelD 1961

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Just last week they admitted that not a single UB-04
claim was ever filed. It was the ZirMed data that has become
the subject of this hearing, which did contain the name of the
lab. It did contain the name of the physician who was located
out of state. It contained the name of the patient who was
located out of state.

They hid it from the government from the beginning.
And here we have wasted so much judicial time and resources
that could have been spent on other things.

If they didn't like the contract, just as they said
in Texas, they had the opportunity to amend it. And they did.
But, no, they then go and hide the truth from the government,
from Mr. Winters, all the way back in 2018, and back further
than that. And then that false information was provided to the
Missouri AUSA, who then reported the false information to the
government here.

I understand why they're doing what they're doing.
But when you look back and every -- you take a step back and
then see what really happens, the truth will ultimately come
out.

THE COURT: All right, sir.

MR. BLAKE: Thank you, Your Honor.

THE COURT: Thank you.

I don't know who -- who -- I'm not going to -- go

ahead. Thank you, sir.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 61 of 182 PagelD 1962

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61

 

 

I'm not sure who on the defense side was
responsible -- I can't recall -- for filing the PowerPoint and
the other materials. Who was it? Mr. Sadow?

MR. SADOW: It was jointly filed by Fletcher and
Durall's counsel.

THE COURT: All right. So do you have any reaction
to the request to have that information sealed?

MR. SADOW: The only reaction would be if that's what
the Court deems to be most appropriate, we do not object.

THE COURT: Okay. And, obviously, this gentleman is
the one that you got it from, apparently.

MR. SADOW: I can't -- I can tell the Court I did not
receive it directly from him, but I understand that he was the
initial source.

THE COURT: Okay. All right. Anybody else?

And I'1l -- so remind me, sir -- I apologize.

What -- what's your name again?

MR. BLAKE: My name is Mark Blake.

THE COURT: Mr. Blake, I will take under advisement
the request to seal those documents. But to the extent that
you want to be able to tell the judge in Missouri that you came
to Florida and you asked me to do it, you can do that.

MR. BLAKE: Thank you, Your Honor.

THE COURT: Anybody else on the Brady?

Who's speaking for the government?

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 62 of 182 PagelD 1963

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62

 

 

MR. DUVA: Gary Winters.

MR. WINTERS: Your Honor, Gary Winters. I will be
speaking.

THE COURT: All right. Mr. Winters, I -- I -- my
prediction was correct, that the first motions take the
longest. Obviously this is a -- this is a matter that
obviously goes to not only Brady, but discovery and the
whole -- kind of the whole way the case is being handled, so --
and a lot of things have been said. So I want to hear from the
government.

So you may proceed, sir.

MR. WINTERS: Thank you, Your Honor.

The first issue I want to address is the first issue
that Mr. Samuel raised, which is the question of disagreement
on what's exculpatory. And we do have a disagreement on what's
exculpatory.

But I don't think that that's particularly relevant
at this point, because the government has turned out -- as
Mr. Samuel acknowledges, and as Mr. Sadow has acknowledged, the
government has turned over all the materials that it obtained
from the Western District of Missouri, including the exhibits
to the PowerPoint. And the defense obviously has the
PowerPoint.

Our view was that the PowerPoint itself was just a --

was a lawyer's advocacy piece. And ultimately we turned over

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 63 of 182 PagelD 1964

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63

 

 

the exhibits to -- to the PowerPoint, as well as all other
discoverable materials that were obtained in the Western
District of Missouri investigation.

The government is not aware of any other U.S.
Attorney's Office or any other component of the Department of
Justice that's pursuing claims.

I heard mention of Ohio. I will represent to the
Court that I am not aware of a U.S. Attorney's Office in Ohio
pursuing any criminal investigation relating to these
defendants or relating to the same subject matter, nor am I
aware of any other U.S. Attorney's Office or any other
component of DOJ anywhere in the country pursuing similar
claims.

We are, of course, aware, and have been aware, of the
investigation by the Western District of Missouri. And I do
believe that the record will show that after David Byrns
entered his plea, which was in November -- or October, I think,
of 2019, our investigation -- what we call the Jacksonville
investigation, which is Mr. Duva, myself, and Mr. Hayes at the
criminal division -- our investigations really diverged.

Now, we don't disagree that the PowerPoint and the
exhibits to the PowerPoint were presented to the government in
January of 2021, this year. We acknowledge that. And we
acknowledge that our disclosure has been delayed. But we have

now produced, as I said, everything that we received from the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 64 of 182 PagelD 1965

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64
Western District of Missouri well before trial.
And I heard -- I think I heard something different
from Mr. Samuel and Mr. Sadow. I think -- you Know, Mr. Samuel

seemed to suggest that the government was acting in good faith.
And if that's not what he intended to say, then I misheard him.

But I think I pretty clearly heard that -- Mr. Sadow
indicate that he did not believe that the government was acting
in bad faith or was -- was intending to withhold any of this
material from the defense.

There has been a delay in producing this material.
And I will acknowledge that the communications back and forth
between the government and Mr. Sadow caused us to go back and

make sure that we had uncovered all of the material that would

be discoverable or producible to -- to the defense.
We acted -- we acted swiftly and we acted promptly.
And we have taken great -- we have made great efforts since

those exchanges back in March to obtain materials from the
Western District of Missouri.

As the Court, I'm sure, can appreciate, you can't
just make a phone call and get all the materials in one day and
get them ready to produce.

So we took -- we took aggressive steps to get that
material to ensure that the defense had all of it. And -- and,
as I said, we've turned all of that over.

Our understanding in the Western District of Missouri

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 65 of 182 PagelD 1966

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is that they have now turned over their entire file to us.
We've looked at it very carefully to ensure that we've turned
over everything that could possibly be discoverable, and turned
that over to -- to the defense.

Now the question of these ZirMed -- let's call them
the electronic data interchange, the EDI submissions, which
play such a central role.

We do have a disagreement as to whether they're
exculpatory. And, frankly, when the government first looked at
those, it wasn't clearly apparent to us that they were
exculpatory.

And I think what's very important to say is that Blue
Cross does not believe that they're exculpatory, in the sense
that they don't undermine their civil case. Blue Cross
obviously doesn't take a position on what's exculpatory for
Brady purposes.

But as the Court knows, there's civil litigation in
Missouri in which Blue Cross is seeking to enforce the terms of
its contract and to recover money that it paid to Putnam
Hospital, and then ultimately went to these outside
laboratories.

And Blue Cross very aggressively in that litigation
takes the position -- and we pointed that out in our brief.
This is page 4 of our brief, that Blue Cross -- Blue Cross

filed a reply brief on March 26th, 2021, in which they pointed

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 66 of 182 PagelD 1967

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out that in those EDI submissions which we've heard so much
about today the defendants are pointing to a field which
indicates that an outside laboratory or reference -- or
reference laboratory were the submitter of the claim, which is
sort of an odd field to find the name of the reference lab in,
since the submitter of the claim was actually Putnam Hospital.

So Blue Cross does not view these as -- as submitting
information that would put them on notice that a reference lab
was actually performing the tests, which is really what this
case is all about.

The case is about claims being billed from the
hospitals as if they were -- as if the lab tests were somehow
associated with the hospitals and properly billed under the
hospital's in-network contracts.

THE COURT: Well, let me just -- Mr. Winters, let me
just ask you a question. And this maybe goes to the merits of
the case, but I just want to understand.

When I read the indictment and when I read the papers
that I've read -- and, of course, my knowledge of this is but a
thimble full of your knowledge and the Knowledge of these
defense lawyers. And so I'11 acknowledge that.

But if -- if there are documents, though, that -- for
example, that were submitted to Blue Cross, let's say -- if
there were documents, or digital transmissions, or whatever --

however people send information these days, that have on them

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 67 of 182 PagelD 1968

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67

 

 

the names of these laboratories as being involved in the -- in
the process that is being billed for, in whatever capacity --
and I understand there may be different fields and so forth --
wouldn't that be something that the defense would want to have
in order to test at trial what role those labs played?

Because I would have been led to believe by the
papers I was reading that the heart of the government's case is
that the bills were being presented as if they were from the
hospital when, in fact, the testing had been done by these
independent labs.

That's what I understood the nature of the fraud to
be in this case. If I'm wrong about that, you can correct me.
But wouldn't -- wouldn't -- if there are fields or submissions,
or whatever there are, in the possession of Blue Cross that
show some involvement of some type in this testing by these
independent labs, whether it be their logo, whether it be --
whatever it is, wouldn't that be information that the defense
would be entitled to see?

MR. WINTERS: Your Honor, we don't disagree that it
would be material and information that the defendant would --
the defense would certainly want to see. It is not apparent on
the face of the -- of the ZirMed -- or I'll call it the EDI
transmission that was presented as an exhibit to the PowerPoint
in the Western District of Missouri -- it is not apparent on

the face of that document, just looking at that document, which

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 68 of 182 PagelD 1969

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68

 

 

is all -- which is all -- the only document, I think, that was
presented to the Western District of Missouri -- a couple of
additional examples were provided at the end of January.

It's not apparent just from looking at the face of
that document that it indicates that the reference lab was
involved in the testing that was being billed from the
hospital.

And Your Honor is absolutely correct that the theory
of the government's case is that the bills were transmitted,
the claims were transmitted from the hospital as if the claims
had some connection to the hospital, and did not identify the
reference labs.

Now, the spreadsheets that I think Mr. Schwartz and
perhaps other defense counsel referred to -- the spreadsheets
that identify the claims that the insurance companies provided
to us in response to subpoenas that we served way back in
2018/2019 -- those claims' data sheets do not identify the
outside reference labs.

And the government understands that those
spreadsheets were pulled from the data that was provided, the
electronic data that was transmitted directly to the insurance
companies.

Now, having said all that, the government certainly
has an interest -- a very keen interest in seeing these

electronic data submissions. And we've taken active steps to

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 69 of 182 PagelD 1970

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69
obtain -- to obtain the electronic data, not just the hard copy
printouts that I -- I assume have been shown in court, and
that -- that we've received and that we've turned over to the

defense. But we have a very strong interest in obtaining those
electronic data submissions. We did not have them before.

And so this refrain that I've heard multiple times
today that -- that the insurance companies are hiding this
information from the government is simply not true.

The government has not had these electronic data
transmissions in this case until -- until this year -- or,
actually, I'd say we don't even have the electronic
submissions. We have the hard copy paper representations of
what's in those electronic submissions, which we've turned over
to the defense. So we do not have the internal -- the
internal --

THE COURT: Well, hold on. Hold on, Mr. Winters.

And I -- believe me, I don't know -- I am not making any
pronouncements. I'm not making any decisions. I'm just asking
questions.

But when you say that -- that Blue Cross -- that it's
not correct that Blue Cross has been hiding things from the
government, and the way you say that is to say that the
government doesn't have this information, how is it -- one
reason -- one possible reason could be that Blue Cross hasn't

given it to you, that it exists and that they haven't given it

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 70 of 182 PagelD 1971

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70

 

 

to you when -- and I guess you could call that lots of things.
But I guess one thing you could call it would be hiding it from
you.

And so what -- what are you meaning to say -- in
response to a contention that Blue Cross has not been
forthcoming with the government in terms of producing material
that might bear on this case, which then may create a duty of
the government to produce it to the defense, how is it an
answer to that to say, We don't have it?

I'm not understanding what you're saying.

MR. WINTERS: Well, we've asked -- we asked the -- we
asked the insurance companies -- not just Blue Cross, but all
the insurance companies. We asked them through subpoenas to

provide us with the claims data.

We -- we can only -- we have what they turned over to
us. We can't go into their systems and -- and force them to
obtain information -- additional information and turn it over
to us. I mean, we have what they -- we receive what they give
us.

And we can't possibly know -- I mean, I have no

reason to believe that anybody at any of these insurance
companies is actively hiding information or declining or
refusing to turn over responsive information in response to
government subpoenas. I would be shocked if that was

happening.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 71 of 182 PagelD 1972

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71

 

 

And so for that reason, I don't believe there's any
indication, any evidence that the insurance companies are
actively hiding information from the government.

What I'm representing to the Court is just what the
government has received in response to those requests from the
insurance companies.

We've asked for claims data. We previously asked for
claims data. We received them in the form of spreadsheets that
were represented -- as Mr. -- either Mr. Samuel or Mr. Sadow
pointed out, were represented in a -- in a phone conversation
with an individual from Blue Cross.

And we had similar conversations with individuals
from other insurance companies. And all of those records of
those conversations have been turned over.

We wanted to understand the claims, the way that they
were transmitted to the insurance companies, and what these
claims spreadsheets showed. And so --

THE COURT: So let me ask you --

MR. WINTERS: -- again, what we --

THE COURT: Let me ask you this. Is there anything
that has happened recently, that is, the production that the
government has made of these emails that were discussed this
morning, or the additional documentation that either defense
counsel has been obtaining through other means or that the

government has obtained recently -- is there anything about

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 72 of 182 PagelD 1973

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72

 

 

that -- what's in that information or the way it was obtained
giving the government any concern that there may be additional
materials that these insurance companies have, whether they be
emails or documentation, or whatever it might be, that would be
relevant not only to the government's case, but also
potentially discoverable to the defendants?

Are you concerned about that? Or are you comfortable
that these companies have, in fact, produced everything that
they need to produce in this case? Because I recognize -- you
know, they're not -- they are portrayed, of course, in the
indictment as the victims of this crime.

And -- but they're unlike many victims of crimes that
I see. They're -- they're very sophisticated entities that
have lots of lawyers and lots of people that work on these
things. And I assume you've been working with some of those
same lawyers.

I'm just -- I'm just asking you the question whether
you have -- what your level of comfort is that you, in fact,
have been provided everything that you should have been
provided.

MR. WINTERS: Well, as I indicated to the Court just
a few moments ago, we have taken active steps to communicate
with all the insurance companies that are referenced in the
indictment to ensure that we do have everything, particularly

these electronic data submissions.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 73 of 182 PagelD 1974

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73

 

 

I am -- I am concerned that I don't have those
electronic data submissions. And I want to have them. And
I -- you know, I want to be very clear with the Court that we
have made those efforts. We're in communication with the
insurance companies about obtaining those and understanding --
and, you know, ensuring that we fully understand what they are.

As we indicated in our brief, Blue Cross has
explained in a -- in an unredacted brief that it filed in the
Putnam litigation at the end of March that they don't believe
that those electronic submissions identified the reference labs
in a way that indicated that the reference labs were actually
performing tests, but rather identified them somehow as the
submitter.

Notwithstanding that -- notwithstanding that, that's
not to say that the government doesn't want to have a full
picture of what these electronic data submissions are, as well
as any internal emails that may -- that may bear on -- on the
use that's been discussed.

THE COURT: Sure.

MR. WINTERS: And with respect to the e-mail,

Mr. Samuel --

THE COURT: So, for example -- I'm just projecting
here. But, for example, it could well be that the fact that
one of these labs is on the -- is on some submission that was

made -- it could well be that Blue Cross is right that that

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 74 of 182 PagelD 1975

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74

 

 

doesn't have anything to do with what we're talking about.

But I suppose if I was cross-examining a Blue Cross
official on the stand who was claiming that he was the victim
of a fraud, I would sure want to be able to ask him about it,
wouldn't I?

MR. WINTERS: We don't disagree. We do not disagree,
Your Honor. The government -- as I said, the government is
seeking to obtain that material and to turn it over to the
defense so the defense has a full picture.

Again, we don't think it's -- we don't think that
it's case dispositive in any way. We don't think that it
undermines our fraud theory.

We believe, as Your Honor, I think, observed, that
the insurance companies will -- as they said -- as Blue Cross
has said in the civil litigation, will take the position that
they -- that that did not inform them of anything having to do
with the reference lab doing the testing.

THE COURT: Do you have any -- do you have any --

MR. WINTERS: And we believe --

THE COURT: Do you have any concern that -- so right
now we have these Rule 17 subpoenas that have been issued by
the defense. And they're in the process of being implemented,
I suppose.

But you indicated to me that there were subpoenas

issued to these insurance companies. I assume by that you mean

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 75 of 182 PagelD 1976

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grand jury subpoenas.

And are you -- are you concerned that -- at all that
you've not received full compliance with those subpoenas? Is
that what you're investigating? Or do you view this somehow
differently than that?

MR. WINTERS: Well, I think -- I'm not -- I'm not
sure that I would say that we haven't received full compliance
at the time that those subpoenas were served. It's not clear
to me if the insurance companies appreciated or understood that
the electronic submissions needed to be produced.

They did produce extensive spreadsheets that
identified the information that had been provided to them. And
those spreadsheets were pulled from the electronic claims
submissions themselves.

And so it may be that the insurance companies did not
understand or appreciate that the electronic submissions
themselves were relevant, given that the -- given that the
spreadsheets that were produced to us and that have been
produced to the defense identified -- or pulled from --
directly from those -- directly from those electronic
submissions.

And the government has always been prepared to offer
those claim spreadsheets and to offer a witness, if necessary,
if the defense is not going to stipulate to authenticity or

admissibility.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 76 of 182 PagelD 1977

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76

 

 

But certainly the government is prepared to offer a
witness to authenticate those claim spreadsheets, identify
where they come from. And so, as I said, I don't think we're
concerned that they failed to comply with the subpoena, given
that they produced those -- that extensive claims information
to us.

And that's the way that claims information is
typically provided in these types of cases. Certainly in
Medicare fraud cases and other cases involving private
insurance that I've been involved in, what the government
obtains is -- is claims -- you know, spreadsheets that pull
from the underlying data itself.

And nobody actually goes to the underlying electronic
transmissions -- for example, in a Medicare case, when a
provider is, you know, submitting to Medicare, what we see are
these claim spreadsheets. And that's typically the evidence
that's presented of what the claims are.

And so, you know, this very much parallels that type
of situation. We obviously now, as I said, are interested in
seeing those underlying transmissions to determine if for any
reason they're at odds with the claims data that's been
presented.

But, again, we don't believe that -- based on what
we've seen so far in these EDI transmissions the defense has

been focusing on, we don't see any reason to believe that

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 77 of 182 PagelD 1978

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there's anything that undermines the government's theory that
the transmissions -- the submissions to the insurance companies
from the hospitals indicating that these were claims associated
with the hospitals and billable -- probably billable and
reimbursable under the hospital's in-network contracts -- we
don't see anything to suggest that that undermines our claim.

So, again, as I think Your Honor recognized, much of
this goes to the underlying merits of the case, which -- you
know, I think that's going to be before a jury. And so that's
going to be a subject of cross-examination. The government is
going to have to offer proof and the defense can cross-examine.

THE COURT: Sure. And I appreciate that. And I'm
not -- I'm by no means trying to make any judgment at all to --
about the merits of the government's case.

My interest at this precise moment -- I guess there
will be -- I'll have other interests as we talk about some of
these other motions. But my interest at this precise moment is
to make sure that, to the extent that these victim insurance
companies have information in their possession that a defense
lawyer who's defending a claim of fraud would want to, and be
entitled to, have as he or she prepares to cross-examine the
representatives of the victim, to make sure they have all that
information.

And whether or not the victim itself thinks that it's

exculpatory or not is not, I don't think, the test. And so it

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 78 of 182 PagelD 1979

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78

 

 

would just seem to me that that -- and, of course, I know
that's what the government wants too, because the government
wants justice in the case and wants a fair trial.

And -- and so I'm going to be interested to do
everything I can, without casting any aspersions on the
government's conduct to date -- I have no reason to question
the bona fides or the good faith of any of the government
attorneys at this point. And I hope I will never have to.

But it is a matter of interest to make sure that --
that these third parties understand their obligation to produce
this information. And I guess we'll come up with the same
issue with respect to the Rule 17s issued by the defense.

But I guess to the extent that the government has a
relationship with these victims and their attorneys and they
worked with them and there have been investigators who have
been working with the government on these cases -- I would
think the government would use all efforts to make sure that --
that the -- that all information which should be disclosed,
which is discoverable, and whether it's exculpatory or not --
or whether they view it as exculpatory or not, is, in fact,
produced.

MR. WINTERS: And, Your Honor, we share that -- that
interest. And, as I said, we are taking active steps. We're
in communication with all of the insurance companies to ensure

that we obtain all the information that would bear on the case,

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 79 of 182 PagelD 1980

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79
as Your Honor said, not just information that might -- you
know, might be viewed by some as exculpatory, but all
information that would bear on -- bear on the defense that the

defendants might wish to -- wish to raise.

I would just -- just if I could respectfully disagree
with Your Honor, though, that that -- that there has been any
kind of joint investigation between us and the insurance
company SIUs, that has -- that has not happened.

The defense has pointed to some emails back in 2018
in which SIUs made reference to myself and communications with
myself. Those communications certainly happened.

Those were -- that was over three years ago, just
around the time that I think I was getting involved in this
investigation. And no one should -- there's nothing surprising
or even nefarious about those kind of communications.

Private insurance companies are considered to be the
victims of health care fraud all the time. And they frequently
communicate with the government.

So the notion that they communicated with the
government and alerted the government, or sought to alert the
government, to potential fraud on them in no way suggests that
the insurance companies are either working with the government
actively -- we've been very careful not to have that happen in
this investigation -- nor does it suggest in any way that

they're -- that they're hiding information or anything like

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 80 of 182 PagelD 1981

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80

 

 

that, or that they're somehow in cahoots to -- with the
government to ensure that -- that the government doesn't get
the -- you know, the bad stuff, I think as was suggested by
some of the defense counsel.

So those communications which are cited in the brief
and which were referenced today, respectfully, I don't think
those suggest in any way any -- any wrongdoing on the part of
the insurance companies, and certainly not on the part of the
government.

THE COURT: All right. Fair enough. Thank you.

I think -- I think I've probably said what I needed
to say. I'm not -- I'm not ruling on the motions so much at
the moment on the -- on the Brady motion so much as I am just
trying to ensure that whatever there is that should be produced
by these insurance companies is, in fact, produced.

And -- and so I'm going to -- regardless of whatever
else I do, I'm asking the government to use its good offices to
ensure that that happens.

Because otherwise we are going to have -- we are
going to run the risk of -- and maybe there's nothing else.
Maybe this is it. Maybe we know everything we're going to
know, or maybe not.

But whatever it is, we need -- it needs to be known.
And I'm going to ask the government to use its good offices to

make sure that that happens, so that the case can be tried on

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 81 of 182 PagelD 1982

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81

 

 

its merits, and not -- we -- the last thing we want is a trial
where there's relevant -- potential exculpatory, but at least
relevant information, that just simply wasn't produced by the
insurance companies, because that's not a result any of us
want.

So enough said, Mr. Winters, unless you want to say
something else.

MR. WINTERS: The only other comment I would have
would be to the presentation that Mr. Blake made. And I would
just observe that -- I think what Your Honor heard from
Mr. Blake was essentially the argument of an interested party
in the civil litigation in -- in Putnam, the Putnam civil
litigation.

I think many of the arguments you heard are the same
arguments that are presented in his company's -- Serodynamics'
summary judgment brief. And I need not address any of those,
because I think I've already addressed the point that there's
no evidence that the insurance companies are hiding information
from the government or -- they're certainly not hiding it in
the Putnam litigation.

I mean, all of -- all of the documents that have been
talked about today, that stuff has all come out in the Putnam
litigation. And Blue Cross obviously has a very different view
of -- of its conduct and of its obligation to have to pay those

claims from Putnam than Mr. Blake does. So that would just be

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 82 of 182 PagelD 1983

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82
my final observation.
THE COURT: Well -- and Mr. Blake came here today.
And I -- to be honest with you, when he first stood up, I
wasn't -- I thought he was representing one of the defendants

in this case. It turned out he wasn't. He made his
statements.

But I agree with you that the only relevant thing for
my consideration is whether I'11 agree to seal the filings that
he requested me to seal, apparently where he's the subject of a
contempt motion in Missouri. So I have that under advisement.

Anything else that Mr. Blake said -- I understand he
said it, but that's not really for my consideration. And I'm
going to take that at that point.

All right. I'll -- we've been going two hours on
this motion, but obviously this is important to the case.
Before -- I'm going to take a break in a moment.

But, Mr. Sadow, or whoever -- if there's somebody who
wants to say something for five minutes in response to what
you've heard --

MR. SAMUEL: Yeah.

THE COURT: -- I'll let you do that.

MR. SAMUEL: They want to --

MR. DUVA: Your Honor, can I just add one thing?

I'll be brief.
THE COURT: Oh, sure.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 83 of 182 PagelD 1984

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83

 

 

MR. DUVA: This is Tysen Duva for the government.
The only thing -- other thing I'd like to point out, in our
efforts to get --

THE COURT: I'm not hearing you very well. Do we
have a microphone up -- okay. Go ahead, sir.

MR. DUVA: Can you hear me?

THE COURT: Yeah.

MR. DUVA: Okay. I just wanted to make clear one
other point. It's in our response brief to the motion. We
issued, back in 2018, grand jury subpoenas to Empower and JVS
Billing, who at the time we believed were material to the
billing, and certainly were at all four hospitals. Less so at
Chestatee, but absolutely at Campbellton-Graceville, Williston,
and Putnam as well.

And we asked for the electronic data submissions from
them as well. We never received any. So there is not some
head-in-the-sand attitude about this.

In fact, it's a very odd motion, because we all want
the same thing. The Court wants the information. The
government wants it. The defense has more of it than we do.
Mr. Schwartz had -- looked like about three inches full of
information. Why don't we have that?

And I know they would say, Well, get it from the
insurance companies. We're taking steps to do that. We have a

call with Blue Cross Blue Shield tomorrow.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 84 of 182 PagelD 1985

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84

 

 

We've been in contact with all of them, Aetna and
UHC. But it would, frankly, be helpful if Mr. Schwartz could
give us what he has. And he has not done that.

And so I think it would facilitate everybody getting
to the finish line. Because we do want to try the case on the
merits. I won't get into whether it's case dispositive or not.

I agree with Mr. Winters. And he's already addressed
that. But I think if there's a little collaboration here that
we can get to the finish line. And then we'll decide,
obviously, what is the appropriate time to try the case.

THE COURT: Thank you.

MR. SAMUEL: I'11 even allow to defer part of my five
minutes to that.

THE COURT: You got five minutes.

MR. SAMUEL: I want two. The only thing I would
remind the Court is the timing issue. Mr. Winters said -- you
know, agreed in their brief that they received this information
in January, and it wasn't until the middle of -- towards the
end of April before it was turned over to us.

And I think the Court, in emphasizing to the
government the obligation to get things from the -- from Blue
Cross, should also remind the government that when they get
information that is significant and important and Brady, it
shouldn't be on the back burner for four months before it's

turned over. And it shouldn't have to await a request from the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 85 of 182 PagelD 1986

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85

 

 

defense.

We spent a lot of time talking about the EDI and
the -- and the electronic data. I want to remind the Court
about the emails. They are attached to document 298,
hyphen -- Exhibit 1, which maybe you -- you ought to add that
to the sealing, by the way, because that was also part of what
was disclosed to us, to document 298, Exhibit 1, in which one
of the people from Blue Cross says, Do you have an opinion as
to whether they can be held to the pass-through rule?

And the Blue Cross representative says, I don't think
we can hold them to the pass-through rule if it is silent in
their current contract.

And then they go on to say, The current contract does
not address pass-through billing.

This was what I mentioned before. This isn't just
data. This is the conclusion of the Blue Cross individual
saying that they're not held to the pass-through requirements.

And we'd ask you to include in your direction to the
government that they search not only for data and documents,
but also this type of information, where Blue Cross says it's
not -- they are not holding them responsible for using a
pass-through -- a pass-through billing that was not included --
that was a provision that was not included in the contract.

So I would just ask that that be included. Because

it's all Brady. Everything that's Brady should be turned over,

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 86 of 182 PagelD 1987

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86

 

 

not item by item that we're able to discover ahead of time,
or --

THE COURT: What about the notion that Mr. Duva
raised that some of this material is likely to reside in some
of the -- the -- the folks here?

I understand it's not a defendant's obligation to
produce any material, particularly, although there's reciprocal
discovery, but is -- is the state of knowledge of the
defendants as little as you're putting forward? Or is there
really more to know -- is there really more that the defense
knows? That doesn't alleviate the government's obligation or
Blue Cross's. But how do you respond to that?

MR. SAMUEL: It's a hard confession to say I know
actually less than you think I know. I did put in a brief
citations to cases which you just referenced, that, even if the
defense is aware of certain information, it does not alleviate
in any way, shape, or form, the government's Brady obligation.

The honest answer to your question is I have no idea
what Mr. Schwartz's client has. I have zero idea. I talked to
Mr. Schwartz yesterday for the first time in my life. And I
don't think I can, with all due respect, count on him to tel]
me what he has. And I wouldn't even ask him.

THE COURT: Okay. Fair enough. All right.

MR. SAMUEL: So I don't know the answer to that.

We're interested in what Blue Cross has. And I

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 87 of 182 PagelD 1988

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87

 

 

seriously doubt that Mr. Schwartz or his client or any of the
other defendants here have internal emails about Blue Cross
conceding that their contract doesn't require --

THE COURT: Okay.

MR. SAMUEL: -- the pass-through billing.

So we would ask you -- well, obviously, we are asking
for specific remedies in our Brady motion.

THE COURT: I understand.

MR. SAMUEL: We believe they're all appropriate. And
if it's not going to happen, we would ask that the government
look not just for EDI data, but for Brady information of al]
kinds, including the types of emails and what kind of search
terms they're going to use to figure out whether Blue Cross, in
fact, acknowledges that the defendants in this case complied
with the contracts -- complied with the contracts, in which
case there's not even fraud. There's not even a civil claim.

THE COURT: Thank you.

MR. SADOW: I have 30 seconds. And that's all I'll
need.

THE COURT: Yes, sir.

MR. SADOW: Two points. One, I'd like to make -- if
the Court will allow me, to make part of the record this FBI
302 that took place on September 21st, 2018, so the Court can
see the interaction between BCBS, Anthem, and the government.

Not for purposes of showing any misconduct, just so the Court

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 88 of 182 PagelD 1989

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88

 

 

knows what I was referring to.

THE COURT: That's fine.

MR. SADOW: So I don't know how the Court would want
to mark it.

THE COURT: I'11 just make it -- who's your client?

MR. SADOW: Fletcher.

THE COURT: Fletcher 1 to the hearing.

(Defendant Fletcher's Exhibit 1 received into evidence. )

MR. SADOW: And the other part of this would be
that -- the government makes two points when it comes to the
defense either production of evidence or failure to produce.
One must assume if they ask Perez and those companies for
electronic data, EDI, that they must have also asked the
insurance companies, the private insurers, for the same data
and received nothing from them.

Second, Mr. Schwartz made it clear he can't turn over
the information that he wants to turn over to defense counsel,
which we didn't know he had, because he's under the order in
the Western District of Missouri civil case that says he's --
it's a protective order.

So if the Court were to release him from that
protective order, then he can share that with all of us.
That's what he's been trying to do with, as I understand it, no
success.

THE COURT: Well, I'm certainly not in a position to

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 89 of 182 PagelD 1990

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89

 

 

release anybody from an order from a different judge at the
moment, so...

All right. Anything else?

Yes, sir?

MR. RAFFERTY: Your Honor, one point of clarification
on behalf of Mr. Durall. Brian Rafferty.

The government has candidly admitted that they're
going to be searching for the materials that we've been
discussing here today. But I just want to be clear that the
government is going to be searching for both EDI and emails
like the ones we saw today for all of the hospitals and all the
payors.

Is that correct?

MR. DUVA: That's correct.

MR. RAFFERTY: Thank you, Your Honor.

THE COURT: Thank you.

All right. We've been going two hours. Let's take a
break. I have no idea where we are in terms of timing.

We're -- it's -- but this was obviously an issue that needed to
be addressed. And so we did. We'll figure it out as we go
along.

But let's just go ahead and take a ten-minute break
now and we'll come back and we'll kind of see how we progress.
And then we'll go from there. Ten minutes.

COURT SECURITY OFFICER: All rise.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 90 of 182 PagelD 1991

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90
(Recess from 12:05 p.m. to 12:16 p.m.; all parties
present. )

COURT SECURITY OFFICER: All rise. This Honorable
Court is back in session.

Please be seated.

THE COURT: All right. Well, given that I think
there's more than ten motions and we spent two hours on the
first one doesn't bode well for us, but we'll -- we're going
to -- I'm just going to go for a while, and then I'11 see what

we're going to do here.

I'm going to hear argument on the motion to dismiss
filed by Durall and Fletcher. Who's going to be arguing that?

MR. SAMUEL: Your Honor, Don Samuel on behalf of
Mr. Durall. And I guess we'll adopt the motion of
Mr. Christian Fletcher as well.

If we took two hours on the Brady motion, maybe if we
do this one in 15 minutes our average will be back down to
where it needs to be, you think?

THE COURT: That would be fine with me.

MR. SAMUEL: Okay. You know, I'm almost tempted to
say we have put everything in our brief we could think to say
on this issue. We bumped up against the page limit, I think.
And we did, in fact, cite all the authority we intend to cite.
But I would just like to --

THE COURT: Well, let me -- let me just try this.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 91 of 182 PagelD 1992

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91

 

 

Let me ask you this question.

MR. SAMUEL: Okay. Sure.

THE COURT: You know, I'm sure, by virtue of your
experience, that it's a rare thing for a federal criminal
indictment to get dismissed. And it's really -- it's really
got to be defective.

It's either got to not have the elements in it or
it's not -- it's got to be devoid of any facts that support
those elements.

And, you know, I've read a lot of indictments over
the years. I've read a lot of fraud indictments. I've read --
I've had a number of multi-defendant cases.

And if I were to say to you this indictment seems
like it's about in the mainstream of indictments -- obviously
they're just allegations. They have to be proven beyond a
reasonable doubt.

A lot of the things we just finished talking about in
the motion -- the Brady motion and a lot of the factual issues
and the role of the arbitration in Texas, and all kinds of
things that are interesting, and I'm sure will be a feature of
the defense when the case is tried, if it is, but that it just
doesn't -- it reads -- that your motion reads more like a
summary judgment motion than a motion to dismiss -- if I were
to say all that to you, what would you say to me?

MR. SAMUEL: I'd -- I'd say can we move on to the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 92 of 182 PagelD 1993

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92

 

 

next motion or...

I'll tell you what I would say to that, Judge -- or
what I will say to that, not that I would. I think that
considering this motion and the bill of particulars together is
worthwhile and would also be efficient.

But the short answer to your question is, in many
ways this does look more -- not like summary judgment, since I
don't do civil work at all, but more like a directed verdict
motion. And I will concede that there's a lot to our motion
that sounds a lot more like a Rule 29 motion than a motion to
dismiss.

But here's the point that we -- that we are trying to
make in the motion to dismiss. And, again, if you couple it
with a bill of particulars request and think about what we just
went through with the Brady, I think it maybe will make more
sense.

First of all, Rule 7 doesn't just say -- state the
elements of the offense. Any lawyer here, or in America for
that matter, can open up the code and read, you know,

18 U.S.C. 1341 or 1349.

What Rule 7 says is you have to also have a concise
statement of the facts. And it's not just any facts. The
facts that have to be laid out are the facts which relate to
the elements. It's not a requirement that the government prove

its case beyond a reasonable doubt in the indictment.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 93 of 182 PagelD 1994

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93

 

 

But the facts must allege, must relate to the
specific elements. And the element that we are focused on, of
course, is the actual element of fraud.

And the fraud allegation that we are seeking to have
the Court focus on is: Where is the misrepresentation? Frauds
come in different shapes and sizes. We're not talking about
honest services fraud here or anything like that.

The typical fraud case has either -- one of two
things. There's a false representation. There's a lie.
There's deceit. And there's a material omission. Those are
the two ways that frauds are committed.

It's either a lie, a misrepresentation, some kind of
deceit, through which the defendant obtains property or money,
or there's a material omission.

And what we seek in our bill of particulars is
specifically that. What we are asking for is: Where is the
lie? What lie is being told? And that's why it's kind of
interesting to think back to the Brady issue, why this is so
important to us, to know what lie is it that you're saying that
we told.

So we ask in the bill of particulars, Just tell us,
where on the claim form is there a lie? What --

THE COURT: Isn't the -- isn't -- you know, sometimes
this argument comes up in qui tam cases, too. And the response

is sometimes the whole thing was a lie.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 94 of 182 PagelD 1995

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94

 

 

In other words, isn't -- isn't, fairly read, the
indictment alleging that when these billing claims went in to
Blue Cross or these other carriers, that claim to be from these
rural hospitals, when in truth and in fact they were tests that
had been performed by independent labs on persons who had no
connection to the hospital at all, or even to the locality at
all -- that when a claim was put in like that, it was either a
lie or it was an omission that -- that failed to tell the true
story of what the claim was?

Now, whether that can be proven beyond a reasonable
doubt and so forth, that's a completely different question.

But why is it not just that simple?

MR. SAMUEL: Well, because even in -- you know, I
don't do qui tam litigation. But even there they have an even
more -- in a fraud claim, they have even more obligation to
spell out what the lie is and what the material omission is and
what truth would be if there was no material omission.

And, you know, we know in this case that there's
nothing on a claim form that says where the test -- where the
lab -- excuse me, where the blood or urine was tested. They
don't even say that in the indictment.

They don't say, You lied about where the claim --
excuse me, where the urine was tested. They don't say that in
the indictment. They don't say, You failed to tell Blue Cross

and Blue Shield that it was, you Know, in a claim form, or in

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 95 of 182 PagelD 1996

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95

 

 

any document that was sent to Blue Cross Blue Shield. You
know, you failed to say that it was not a -- a patient
associated with the hospital.

And we need to know that because, as you know from
the other pleadings in this case, we -- we use the 141 code.

We told them it was not a patient of the hospital. And if they
won't answer these questions for us, our concern is this moving
target that will happen at trial, where there's just kind of
this ephemeral sense of fraud. There's this, It shouldn't have
happened.

Or sometimes we hear it referred to, like in the --
in the expert's report, it was just kind of a loophole that
they drove through. And we want specificity.

And, again, I'm -- I'm addressing both the bill of
particulars here -- we're going to get two for one when I'm
done. I'm addressing both the bill of particulars and the
motion to dismiss.

If we could just pin down what is the lie. If the
lie is under no circumstances can a rural hospital ever get
reimbursed if the urine is not tested on site, say that.

There's -- we don't -- if that's their -- if that's
their allegation, that's what they're going to claim, if
they're going to say nonpatients can't be the subject of -- a
141 code can't be used -- you can't use 141 and identify the

patient as a nonpatient, that is a crime to do that, say that.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 96 of 182 PagelD 1997

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96

 

 

But they don't. You just -- we just get this kind
of -- we're -- as you say, it's a detailed indictment. It's
quite long. But we're not talking about defrauding the
government. We're talking about a victim who apparently claims
we didn't want to pay these claims. We didn't intend to pay
these claims. We don't envision the contract as calling for
these types of claims.

But none of that in the indictment specifically
alleges that. And if you read through the indictment -- I'1]
give you the close calls. I'm -- I will readily acknowledge it
comes close in places.

But what -- what scares all of us on our side is,
without the level of specificity, this jury is going to be
clueless, if they are given the indictment, as to what exactly
was the fraud unless the government is going to concede or say
none of this was permissible.

And if you find that any of it was permissible or
subject to a reasonable interpretation of the -- of the
contract, then we are facing a jury trial without knowing
exactly where the crime occurred. What is the actus reus of
this crime? What is the false statement in this crime?

THE COURT: Well, I'm looking at the indictment,
paragraph 37(j).

MR. SAMUEL: That's the one I've written down here.

37(j) is the only one that's come close.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 97 of 182 PagelD 1998

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97

 

 

THE COURT: "...would and did cause false and
fraudulent claims for reimbursement of the aforementioned
screening and confirmatory UA tests and blood tests to be
submitted to the Private Insurers...using the NPI and other
identifying information for the Rural Hospitals, as though the
testing was reimbursable under the Rural Hospitals’ insurance
contract...when in truth and in fact, it was not."

MR. SAMUEL: Yeah. I agree. 37(j) is the closest it

comes. But here's the problem with 37(j). This language "as

though" -- I couldn't quite understand what the phrase "as
though" means in that paragraph, that they -- they identified
the hospital that's filing the claim. That's accurate. It
was, in fact, for example, Chestatee. And it says Chestatee is
filing the claim. And -- and the government's allegation is
that that is a misrepresentation. It is the person who -- it
is the entity that is filing the claim. There's no
misrepresentation about that.

And if -- if, in fact, that is their case, it's the
misrepresentation about who is filing the claim, then that
should be in the bill of particulars. They should say, This
hospital should not have filed a claim at all. It is a false
statement to say that it is filing the claim or that it's
entitled to file a claim.

But we don't -- we don't read even 37(j) to be clear

enough to say that. And why would the government ever say,

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 98 of 182 PagelD 1999

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98

 

 

We're not going to give you a bill of particulars? Why would
they ever say that?

I never could understand, in 40 years of doing this,
why the government says, We're not going to give you a bill of
particulars, as if there's something they don't want us to
know.

And, instead, what we got from the government -- and
I should apologize. You know, I put some things in the brief
there -- I'm somewhat late to come into this case. I wasn't

involved at all pre-indictment. And there were discussions

before with Mr. Rafferty and other lawyers -- never with me.
They've -- you know, once I got in the case, repeated requests
were made -- let me get beyond that.

You know, they say, Look at the discovery. That
tells you what the case is all about.

You Know, then we look at the discovery and, you
know, we go through, like, the Brady stuff -- well, they did
tell them there was a lab. And so that doesn't answer the
question.

And then we read the government's expert, and
that's -- you Know, he's got a different version of what the
141 code means. It's all over the place in the discovery.

All we want, all we're asking for in the bill of
particulars is spell it out, what the crime is, what the false

statement is. If it's -- if it's the use of the NPI number,

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 99 of 182 PagelD 2000

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99

 

 

then -- then that's the fraud and that's what we'll deal with.

If it's under no -- if it's the breach of contract,
we certainly will be having Rule 29 discussions with you about
that, that it's just you're not allowed to do this under the
contract?

And as I said in my brief, I file claims -- you know,
every time one of my kids gets injured in a baseball game, I
file an insurance claim and, by golly, they always say no. Is
that a fraud that I filed a claim that somehow is not covered
by the insurance policy? That couldn't possibly be a fraud.

So we think the combination of the bill of
particulars and spell out the material omission, and what the
truth would have been, or spell out the false statement, at
least would let us know what we're facing here.

A breach of contract is not a fraud. If there's any
ambiguity in the contract, any reasonable ambiguity -- that's,
you know, the Whiteside case -- is not a fraud. All this is in
the brief. And I don't mean to be reading the brief, in
essence, to you.

You know, even filing a claim that's not covered is
not fraud if the statements in the claim are accurate. And
this indictment does not allege where is the lie and, if there
was a material omission, what would the truth have been that
was omitted.

THE COURT: All right. Thank you.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 100 of 182 PagelD 2001

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100

 

 

Anybody else on the defense side have any brief
comment on this motion to dismiss? I know a number of you have
adopted it. But is there anything else on the defense side?

Who's responding on behalf of the government?

MR. DUVA: Your Honor, Mr. Winters is going to handle
the --

MR. WINTERS: I will, Your Honor.

MR. DUVA: -- motion to dismiss and I'm going to
handle the bill of particulars, that motion.

THE COURT: All right. Go ahead, Mr. Winters.

I guess the combination argument was made on the bill
of particulars and the motion to dismiss, but I understand
you're addressing the motion to dismiss.

Go ahead, sir.

MR. WINTERS: I will. And I'll be brief. And I
think Your Honor put your finger right on it. First of all,
you do have to look at the indictment as a whole.

Your Honor focused on paragraph 37(j), and rightly
so. And I believe Mr. Samuel was going to focus on that as
well. You also have to look at paragraph 37(k) and 37(1),
which elaborate on that.

But what these are -- this is -- this is no
different, again, than in a typical Medicare fraud case where
the parameters of what Medicare covers are set out in various

rules and so forth. And those were analogous to contracts.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 101 of 182 PagelD 2002

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101

 

 

They say what's going to be covered and what's not going to be
covered.

And if there was a fraudulent representation which is
made in the claims that a particular service is -- that
reimbursement is sought for a particular service that's not
covered, and there is a -- there's a false statement about what
was provided or whether the services were medically necessary,
and that's the basis for seeking reimbursement on the claim,
that's a fraud.

So I -- I fail to understand why the defendants can't
understand what the fraud theory is in this case. It's spelled
out frequently in -- certainly in our brief, when we've
indicated that the claim submissions that were made to these
insurance companies were fraudulent, in that they identified
the hospital's NPI number and tax ID number, and asked for
reimbursement as if these claims were reimbursable under these
contracts when they were not.

Now, the question of ambiguity under the contract,
that's a -- again, that's a factual issue. And that's an issue
the defendants can raise at trial. We don't believe that these
contracts are ambiguous. And we believe the evidence will show
overwhelmingly that the contracts were not ambiguous, that they
covered claims for services that were provided by the hospital
in connection with the hospital. And that's not what was

provided for here.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 102 of 182 PagelD 2003

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102

 

 

What was provided was -- what was provided was
testing, or what was -- what the hospitals were asking for
reimbursement for was testing that was performed at these
outside independent laboratories and were out-of-network.

And the entire purpose -- as we explain in the
indictment, the entire purpose for doing this is that its own
independent laboratories, the laboratories owned by
Mr. Fletcher and Mr. Durall and Mr. Porter -- if they had
submitted those claims directly to the insurance company
truthfully and honestly, they would have gotten little or no
reimbursement, because they were out of the hospital's network.

So the only reason to connect those tests to the
hospital, as we allege in the indictment, is to be able to
submit those claims under the hospital's NPI number as if they
were somehow connected to the hospital.

Now, the defendants have mentioned this 141 code.
And that's right there in the claims. The claims data
spreadsheets, which we talked about earlier, and undoubtedly
the underlying electronic claims, use this 141 code that
identifies the -- the person whose test is being done as a
nonpatient of the hospital.

And we've known that from the very beginning. And
that's -- we've never attempted to hide it. We've never --
we've never suggested that -- that that was not conveyed to the

insurance company.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 103 of 182 PagelD 2004

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103

 

 

We just don't think that it -- it undermines our
fraud theory in any respect. Because one can be a nonpatient
of a hospital, have a test referred to the hospital, and have
that test referred out to a reference lab. That's the exact
opposite of what happened here.

And as we -- I think we allege and we indicate in the
brief, and the proof will certainly show, this was the exact
opposite of that, that the samples were not referred to the
hospital in the first instance and then referred out to
reference labs. They were -- they were sent directly -- in
some cases directly to the outside reference lab, and in some
cases to the hospital only for this initial screening test, and
then outside -- to the outside reference lab for the
confirmatory test.

The point here is that there is a -- there's a very
clear explanation of what the nature of the fraud here is.

It's that the claims were submitted by the hospital and the lie
is in the claims. The lie is in the claims submissions. It's
not in emails. It's not in oral statements. We haven't
alleged any of that.

The lie is in submitting these claims day after day,
week after week, month after month to these insurance companies
asking for reimbursement for tests that were not done at the
hospital, but that were represented as if they were somehow

connected to the hospital. So we believe it's very clear on

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 104 of 182 PagelD 2005

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104

 

 

its face.

Now, Mr. -- one thing Mr. Samuel said struck me
that -- you know, if the government wants to say that no claim
from a hospital or patient whose testing is not done at the
hospital can ever be -- can ever be nonfraudulent, the
government should say so.

Well, that -- that's not our theory at all. What
we've alleged is that, in respect to these contracts, these
particular contracts between these hospitals and these
insurance companies, as we'll prove at trial -- those contracts
provided that the insurance companies would reimburse the
hospitals for services that were provided by the hospitals.

Now, if a contract said, We'll reimburse you for
services provided by the hospitals, but we'll also reimburse
you for services -- for any tests that you -- that somehow is
billed under this contract, but was done at the reference lab,
well, then, of course, we wouldn't have a fraud case. But
that's not at all what these contracts say.

So, again, I -- without belaboring the point any
more, I think the indictment read as a whole and under the
relatively light standards, as Your Honor observed, under
Rule 7, from reviewing indictments for purposes of the motion
to dismiss, this -- this indictment clearly alleges fraud. It
alleges fraudulent misrepresentations and omissions.

It alleges fraudulent claims in submitting medically

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 105 of 182 PagelD 2006

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105

 

 

unnecessary claims, which is an entirely different dimension of
the case that really hasn't been addressed today, but I know
will be addressed more in connection with the Daubert motions.
We believe this indictment easily surpasses the hurdle for a
motion to dismiss under Rule 12.

THE COURT: Mr. Duva, you're going to -- I think the
joint argument has been made on the bill of particulars, so
I'll hear from the government on that.

MR. DUVA: Yes, Your Honor. I think -- and I won't
belabor it, because I think Mr. Winters basically addressed
that sort of in combination. It's hard not to.

But in the response -- I'll just point the Court to
the response -- is that every factual sentence that was written
is sourced to a paragraph in the indictment, namely mostly in
paragraph 37.

So there was discussion about 37(j). And Mr. Winters
brought this up. I circled it on my copy of the superseding
indictment. We would ask the Court to look at 37(k) and 37(1),
and really every subparagraph in paragraph 37.

And this was a theme, really, in the motion practice,
that the defendants just don't understand what they're charged
with. And I think the first two hours of today really shows
that they have a keen understanding of what they're charged
with.

And in looking at this sort of -- and I think it

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 106 of 182 PagelD 2007

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106

 

 

makes sense to kind of back up. And this is clear in the
discovery materials. It's clear in the grand jury transcripts,
which include Kyle Marcotte's testimony, who pled to money
laundering conspiracy. It's clear in the David Byrns
testimony.

I'11 just give an example of: What do these rural
hospitals have to do with someone at Beaches Recovery in
Jacksonville Beach who urinates in a cup a couple of times a
week and that cup is sent to Reliance Labs for testing? What
do the hospitals have to do with that specimen, that person?
The answer is nothing.

And that's a large part of the allegations in the
indictment. And it's clear on the face of the indictment such
that a bill of particulars is not necessary, because it's the
same lie, the involvement of the rural hospital in any way,
shape, or form with the claim -- it's not a different lie in
this set of claims and a different lie in this set of claims.
It's consistent with all four hospitals. That's what is
alleged in the indictment. And it's a repeated thing. So
that's why the government believes that a bill of particulars
is not necessary.

There are allegations about Counts Two through Six.
And that is what Mr. Rafferty, in the motion that Mr. Samuel
prepared, wanted to talk about.

And we did not have a meeting, although we responded

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 107 of 182 PagelD 2008

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107

 

 

to every e-mail and said, Counts Two through Six identifies the
specific claim at issue. These are the substantive aiding and
abetting health care fraud counts. The date of the claim, the
initials of the beneficiary, the claim number, the amount
billed, the amount paid and the identity of the insurer.

And the grand jury testimony of the FBI agent makes
that clear where interviews of the insureds -- and oftentimes
it was a parent of a child who was suffering from addiction.
Those are turned over. Those are identified. They're exhibits
to the grand jury testimony of the agent.

And so our response was: What else is there to talk
about? That's -- the specific claims are identified ina
count, similar to the money laundering counts.

Every financial transaction that is charged is
alleged in the table -- I believe it's Counts Eleven through
Twenty-Three, the specific monetary transaction involved is set
forth.

So the government struggles to really discern what
else can it do to educate the defendants about the case. But
the reality is -- and the Court, I think, can understand this
from the first two hours -- they Know exactly what it's about.
And it's just -- it's not a mystery at all.

THE COURT: Thank you.

Ms. Galnor, do you want to be heard on Ms. Zaffuto's

motion to dismiss?

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 108 of 182 PagelD 2009

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108

 

 

MS. GALNOR: No, Your Honor.

THE COURT: I did have a question about that of the
government. And it has to do with Count Seven against
Ms. Zaffuto, this whole issue about a conspiracy to attempt.

And I recognize that the indictment doesn't -- that

that's not all it says. But is -- is this attempt language in
Count Seven -- is it confusing? Is it -- is it unnecessary?
What -- what is your -- what's the government's view

of the attempt language? Could it come out of the indictment
without messing up Count Seven? I just want to understand the
attempt issue.

I don't know who -- Mr. Winters, are you the one to
talk about that?

MR. WINTERS: Yes, Your Honor.

The -- the knowingly conduct and attempt to conduct
the financial transaction, that tracks the statutory language.
I think that's -- in other indictments that I've seen involving
a conspiracy to commit money laundering, that language is
typically included.

There's no effort by the government to try to charge
an inchoate offense of conspiracy to attempt. I think we know
well and we don't disagree with the point that -- that that --
that's not a crime, to conspire to attempt.

I don't think taking it out would do any violence to

the indictment. I think that -- you Know, if Your Honor would

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 109 of 182 PagelD 2010

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109

 

 

want it redacted, for example, if it goes to the jury, we can
certainly agree to do that.

But the -- the overarching point is that we allege a
conspiracy to knowingly and intentionally combine, and to
knowingly conduct the financial transaction. The "and attempt
to conduct" is really -- is really not necessary, and likely is
there -- well, I won't say likely.

It is there because -- because it -- you know, this
is sort of an effort to track the statutory language, which
is -- which is often good practice.

THE COURT: All right.

MR. WINTERS: But as I said, we don't have any
objection to redacting the attempt. It doesn't -- it doesn't
take away from the point that the -- Count Seven is properly
charged as to Mr. Durall and Ms. Zaffuto.

THE COURT: All right. Thank you.

Well, I just wanted to ask the question. I'11 figure
out what to do with it. You know, I don't -- I don't always
send my indictments back anyway. In a multi-count case, ina
multi-defendant case, sometimes I do, but I redact them. So
we'll figure it out. But I just wanted to make sure I
understood the government's position.

So I'll -- I think it was a good point raised by
Ms. Galnor. And I -- and I understand your position. And

we'll -- we'll do something -- we'll either redact it or we

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 110 of 182 PagelD 2011

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110
won't send the indictment back or something. And if the
government is not going to attempt to prove a conspiracy to
attempt, then that -- that alleviates that issue.

All right. Thank you.
On behalf -- the motion to -- or motion to dismiss on

behalf of James Porter and Sean Porter, Mr. Schwartz?

MR. SCHWARTZ: Yes, sir. Seth Schwartz on behalf of
James Porter.

This was a joint motion with Mr. Rowland, Sean
Porter's counsel. He handled the money laundering aspects of
it, so I will leave that argument to him. I won't bring it up.

I'm going to stand on the brief and just -- just
state very briefly that, from our perspective, the information
that is alleged in the indictment against Mr. James Porter is
not a violation of law. That's the issue that we have.

The contracts and the provider manuals did not
prohibit this conduct. If you go back to some of the
statements that were made during the Brady motion, Blue Cross,
which is the largest victim in this case, flat-out says in an
e-mail that there's nothing we can do about pass-through
billing, because the contract is silent as to it.

What the government is complaining about is that
notion of pass-through billing. The idea that a hospital has
contracted with another entity to subcontract work, that the

hospital then bills for that work, and that the hospital

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 111 of 182 PagelD 2012

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111

 

 

collects the money for that work and then pays the
subcontractor, that is known as pass-through billing.

The contracts are silent as to that. The provider
manuals, which go into hundreds and hundreds of pages, are
silent as to that.

In health care, the standard essentially is that if a
contract is silent as to something -- I'm sorry. This mask is
driving me crazy.

If a contract is silent as to something, then you
look to federal law, CMS guidelines, Center for Medicaid -- or
Medicare and Medicaid Services.

CMS guidelines that existed during the relevant time
period required that billing to be done exactly the way that it
was.

So pass-through billing at the -- during the relevant
time period was allowed through federal law, CMS guidelines.

It was also talked about in 42 U.S.C. 13951, which talks about
payment of fees and things like that.

And absent the contract prohibiting that conduct or
the provider manuals prohibiting that conduct, then it's
completely lawful. There hasn't been anything that's been done
by Mr. Porter or his company that is violative of the contract,
the provider manuals, or federal law.

And that's the issue. They want to complain that the

hospitals entered into some kind of agreement with the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 112 of 182 PagelD 2013

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112

 

 

reference laboratories, that the reference laboratories then
did the testing and the hospitals billed for those -- for those
items, that the basis of the testing was not individuals that
presented either as inpatients or outpatients at the hospital,
but individuals that were sprinkled all throughout the country,
where hundreds of different doctors ordered these tests and the
testing was done by these reference laboratories.

There's nothing violative of the contract. Again, we
can look to the statement that was made in the emails that are
included in the Brady motion, where Blue Cross, on their
self [sic], is saying, Yeah, this is pass-through billing. We
can't do anything about it, because the contract is silent as
to it. Let's get them into a new contract.

And they got them into a new contract that prohibited
it. That's when they issued the superseding -- the superseding
provider manual that followed the new contract that did, in
fact, prohibit it.

And then shortly thereafter, Medicare and Medicaid
Services -- federal law was changed in 2018 that also
prohibited pass-through billing. But during the relevant time
period of this case, this -- this information was not illegal.

And that's the crux of what we're talking about in
our motion in citing to health care law and health care
standards, as well as normal, you know, law that's in the

federal system regarding a motion to dismiss.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 113 of 182 PagelD 2014

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113

 

 

We're aware that the Court has to look at the four
corners of the pleadings. And it's not a summary judgment
standard. And it's a very restricted standard in the Eleventh
Circuit.

But taken what has been claimed and looking at what
the law was at the time, what the contracts and provider
manuals were at the time, it was required to be billed the way
it was. And there was nothing nefarious or illegal or improper
about any of this.

And, again, although not part of the indictment
directly, this Court can look to the e-mail that was part of
the Brady motion from Blue Cross Blue Shield flat-out saying,
We can't do anything about this, because the contract is silent
as to it.

So that's what I'd like the Court to focus on, as far
as Mr. Porter's motion to dismiss.

THE COURT: Thank you.

MR. SCHWARTZ: Thank you.

MR. ROWLAND: Your Honor, Caleb Rowland appearing on
behalf of, today, Mr. Sean Porter, but I'm handling the money
laundering and conspiracy count for both of them.

I'm going to take my mask off. I'm fully vaccinated,
but I'm burning up with that thing on.

This kind of piggybacks on Mr. Fletcher and

Mr. Durall's argument as well, in that there is nothing in the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 114 of 182 PagelD 2015

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conspiracy to commit money laundering count against both of
the Mr. Porters -- and I'll just say Porters, if that's okay
with you -- to indicate to them that they would know that they
were engaging or conspiring to engage in a transaction
involving the proceeds of illegal activity.

I have scoured the superseding indictment. I've put
together paragraph after paragraph to try to understand how
either of the Porters would know that the funds that were
involved in the transactions that are complained about were the
proceeds of illegal activity.

And, admittedly, this gets into the -- the idea that
even Blue Cross didn't think that this was illegal, that --

that this was outside of their contract.

The reason that this is a -- that this is a
problem -- and, quite honestly, Your Honor, more specifically
for Sean Porter than for James Porter in this, but -- my

client, Sean Porter, is one step removed from everything else
that's going on in this case.

But the reason that it's a problem is there are no
facts that particularly support the material allegations of
money laundering here.

There's nothing in here that says that there was
money moved from A to B -- there was a financial transaction
involved. The money moved from A to B that came from a

specific illegal act. It just says, They're the proceeds of

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 115 of 182 PagelD 2016

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115

 

 

illegal activity. And the illegal activity is what we've
alleged in Counts Two, through, I believe, Six, or Seven.

Without that knowledge element, and without pleading
that in a -- in, I guess, a more specific way, essentially --
without that knowledge element, my client doesn't know how to
defend that.

If -- and I think there's a qualitative difference
here, Judge, between a money laundering -- money laundering
prosecution, where the accountant for a drug dealer moves money
for him, where there's no other source of legal income, that
that -- that that -- that accountant knows what his client does
for a living.

There I think that just pleading the knowledge, in
terms of Knowing that the -- the funds were the proceeds of
illegal activity would probably be sufficient. That's not what
we have here.

We have people who -- who very obviously believed
that what they were doing was legal and -- and, quite honestly,
weren't given any reason to think it was illegal.

So the issue that I have with the money laundering --
the substantive money laundering claims -- and those are -- for
James Porter, that's Counts Eleven through Twenty-Two; for Sean
Porter, that's Sixteen and Twenty-Two -- is that the government
hasn't given any facts that would support the idea that either

one of the Porters Knowingly engaged in a financial transaction

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 116 of 182 PagelD 2017

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116

 

 

that included funds that they Knew to be from -- or funds that
they knew to be the proceeds of illegal activity.

And, again, I'm pretty much going to stand on the
portion of our brief as well. But I did want to point out
to -- to Your Honor and just have you specifically look at the
Butzman case that we cited. There's a quick citation from
that.

It says, An indictment is insufficient if it states
conclusions rather than the facts upon which the conclusions
are based.

Just saying that they engaged -- that they knowingly
engaged in transactions that were involving the proceeds of
illegal activity is a conclusion. The facts would be: How
would they know that? What knowledge did they have?

Granted, it's hard to get into somebody's mind. But
there's another case that I cited -- and I think it was the
Toll case that goes through some of that. It explains how do
you determine that somebody knows or has knowledge of the
illegal character of the -- the funds that you're moving
around, that you're engaging in money laundering. And none of
that is in this. Literally nothing.

It boils down to there were two transactions with my
client, Mr. Sean Porter, and he knew that that was the proceeds
of illegal activity.

With James Porter it's -- I think it's six or seven

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 117 of 182 PagelD 2018

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117

 

 

counts, exact same thing. I don't disagree that the table
tells us which transactions we're talking about. At least we
have that there. I mean, that's better than the health care
fraud argument where it's just, Yeah, they just lied. Where?
Where did they lie?

At least here we can say, Okay. These are discrete
transactions. And we -- at least we know which ones they are.
Now the question, at least in my mind, in terms of being able
to effectively defend my client here is, Okay. Well, what are
you basing the idea that he had knowledge of the illegal
character of these funds on? Because if I don't know that,
there's a whole world of possibility out there.

And so I think that in terms of -- of the factual
pleadings that would lead to the -- or that are the
underpinnings of both the conspiracy and the substantive money
laundering charges -- there simply isn't enough factually
listed here to sustain the -- those counts against our clients.

Thank you, Judge.

THE COURT: Thank you.

Who's responding on behalf of the government?

MR. WINTERS: Gary Winters, Your Honor.

THE COURT: Go ahead, sir.

MR. WINTERS: All right. Let me first address
Mr. Schwartz's argument.

Now, Mr. Schwartz is focusing on -- on what he

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 118 of 182 PagelD 2019

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118

 

 

believes those contracts say. And he is going to, I think,
present a trial defense, as other defendants who have spoken
today have indicated, that the contracts are ambiguous, that
they don't address -- they don't address billing for tests that
were done at a reference lab.

And the contracts don't address a lot of things that
would -- you know, that would be prohibited if you -- and if
you did them and falsely alleged -- or falsely submitted a
claim indicating that you had done otherwise, the contracts
would be -- would be -- those would be fraudulent claims as
well.

So I don't need to get into the -- the details of --
of what the contracts provide. But, again, as I said before,
suffice it to say the government intends to prove, just like in
a Medicare case -- and I keep drawing that analogy, because it
is very similar, in the sense that a health insurer payor has
rules, and submitting claims that seek reimbursements that are
not permitted under those rules, and lying about the nature of
the claims or the nature of the testing or the nature of
whatever medical service was provided in order to receive that
money is -- can be -- can be a fraud, if there's an actionable
fraudulent misrepresentation or material omission, which is
exactly what we allege.

Now, this rule with respect to the supposed -- you

know, the Medicare rule with respect to allowing the hospital

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 119 of 182 PagelD 2020

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119
to bill for services that are -- that were provided by an
outside reference laboratory, which is permissible in some
circumstances under -- under Medicare law -- it's 42 U.S.C.
1395(1), which I think Mr. Porter -- or Mr. Schwartz cited --
again, that's -- that's not -- that rule is not incorporated in

any way into these insurance contracts.

Mr. Schwartz indicated that sort of general health
care law says, Well, if the contracts are silent, then
you -- you know, then you look to Medicare law.

The contracts don't say that. The contracts don't
indicate that -- that they should be guided in any way by the
billing rules or the claims procedures that are set out in --
in Medicare law.

So -- and I -- I believe, you know, the defendants
are certainly -- and Mr. Schwartz, of course, is familiar with
this. I mean, that's the position that I believe Blue Cross
has taken in the civil litigation in which it's seeking to
recover.

Now, they have -- their claims are slightly
different. Their breach of contract claims were, of course,
not alleging the breach of contract. And I do want to make
that very clear. We are not alleging in any respect a breach
of contract. This is a fraud theory. And it has to be in
order to be a criminal violation.

So, again, the absence of -- of any mention of -- of

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 120 of 182 PagelD 2021

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120

 

 

billing by the hospital for tests that were done at these
reference labs doesn't in any respect say, We can just go and
we can rely on Medicare law.

And so, again, the argument that we've heard from
Mr. Schwartz is primarily a summary judgment argument, or the
kind of argument that I think, you know, he will undoubtedly
make to the jury.

And we'll have evidence with -- you know, that we
believe that will show that the contracts are not ambiguous,
that show that they specifically covered services that were
provided by the hospital under those circumstances.

And given the way the contracts were written, that
was the coverage -- that was the coverage rubric that governed
the claims that the hospital submitted to the insurance
companies, and that -- that submitting claims without
identifying the reference labs and without indicating that
these tests were done at the reference labs didn't -- didn't
allow them to just fall back on -- on Medicare rules, which --
which in some circumstances would permit that type of billing.

THE COURT: Thank you.

MR. WINTERS: With respect to the money laundering
claims that Mr. Rowland raised, I think the question he asked
is: How would the Porters know that the proceeds -- that the
proceeds were proceeds of illegal activity?

Again, that's -- that's a trial issue. We've alleged

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 121 of 182 PagelD 2022

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121

 

 

in the indictment -- and there are cases that we cited in our
brief, United States versus Hill and United States versus
Lazarenko, which has -- and they're not Eleventh Circuit cases,
granted, but they are well-reasoned opinions that set out the
way that money laundering can be properly alleged so it can
give the defendant the kind of notice that he's entitled to
under the rules and under the Constitution, indicates that
the -- precisely the allegation that we've made here, which
tracks the language of the statute in Count -- in Count Eight,
in which both Porters, as well as others, are charged with
money laundering is perfectly sufficient.

Because it tells them that they knowingly and
intentionally combined and agreed with each other to knowingly
engage in -- test and engage in monetary transactions. And it
further says that the specified unlawful activities that
generated the proceeds -- the illegal proceeds are conspiracy
to commit health care fraud and wire fraud. And the -- the
factual bases for those are set out in great detail earlier in
the indictment.

So the government certainly has to come in and prove
how the defendants knew that the -- that the property was
derived from specified unlawful activity. But we don't have to
allege with precise details in the indictment to say how they
knew that.

Now, the same would go as to Count -- as to the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 122 of 182 PagelD 2023

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122
substantive money laundering counts, in which Mr. Porter --
Mr. James Porter is charged in a number of counts. And I
believe Mr. Sean Porter is charged in one count.
As to James Porter, the notion that he can't
understand how -- how he Knew that the proceeds were proceeds

of specified unlawful activities is hard to understand, given
the extensive allegations regarding the health care fraud and
the wire fraud conspiracy scheme that's set out in Count One.

And so, again, I think the argument that I heard was
that he can't understand how he could be -- how he could have
known that these were proceeds of unlawful activity, because
they're not unlawful activity in the first place.

Again, that goes back to the earlier motions to
dismiss, which -- which, as I indicated earlier, the -- the
allegations as to what the unlawful activity is and how there
was a conspiracy to commit health care fraud and wire fraud
that's adequately alleged in the indictment jis -- is
sufficiently stated there.

THE COURT: I think I -- I think that's going to be
sufficient, Mr. Winters. Thank you.

MR. WINTERS: All right.

THE COURT: So the motions to dismiss are under
advisement. We've already -- the Court's already heard
argument on Mr. Durall's motion for bill of particulars, which

is under advisement. That's doc 213.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 123 of 182 PagelD 2024

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123

 

 

Mr. Bell actually filed a motion for bill of
particulars on behalf of Jorge Perez, doc 231. The government
did not respond to it. I assume that was just an oversight.

But what it requests -- it's a more targeted motion.

And it requests a list of unindicted coconspirators, which is

something that -- even going back in my days as a magistrate
judge, sometimes those were granted even -- even if you weren't
going to grant a larger bill of particulars -- and I've not

made a decision on that. But sometimes those were granted as
being an appropriate item of specificity.

So I don't know, Mr. Winters, if you're the one to
respond to that or whether Mr. Duva, whoever. But Mr. Jorge
Perez has asked for a bill of particulars to list unindicted
coconspirators.

And what's the government's response to that?

MR. HAYES: Your Honor, Mr. Hayes. I'11 respond.

THE COURT: Okay.

MR. HAYES: One reason perhaps for the lack of a
response is we're willing to provide that information. As the
Court has pointed out, that's not uncommon. So happy to be
talking for the first time in the Middle District of Florida.

THE COURT: Okay.

MR. HAYES: I'm going to keep my mask on. I've got
to make a mask joke now since they all have. I am fully

vaccinated, but I got my second shot yesterday.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 124 of 182 PagelD 2025

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124

 

 

THE COURT: All right.

MR. HAYES: So if it's all the same to everyone, I'11
keep the mask on.

THE COURT: That's fine.

MR. HAYES: I think people can hear me and I tend to
project. So it's probably better for everyone if I just leave
this on.

THE COURT: That's fine.

MR. HAYES: We're willing to provide that.

THE COURT: All right. Well, then I'm going to go
ahead and grant the Defendant Jorge Perez's motion for bill of
particulars and direct the government, by way of particulars,
to file a list of un- -- or serve a list of unindicted
coconspirators, and do so on all the parties, of course.

And we can -- probably when we're at the end of the
hearing we'll set up deadlines for what -- how we're going to
proceed, in terms of the next steps in the case. And we'll
include that.

So, Mr. Bell, you won your motion and you didn't have
even have to say anything, so...

MR. BELL: Although I'm saving it up for later,
Judge.

THE COURT: All right. Good.

MR. HAYES: Well done, Mr. Bell.

THE COURT: All right. The next motion, I'm not sure

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 125 of 182 PagelD 2026

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125

 

 

of the status of it. Defendant Christian Fletcher filed a
preliminary motion to sever. I saw there was a filing, either
yesterday or today, but I couldn't quite tell if it had been
withdrawn or what the status of it was.

So let me just ask, Mr. Sadow, what's the status of
the motion to sever?

MR. SADOW: Your Honor, the preliminary motion for
severance is still pending. I think it would -- another
codefendant withdrew -- Mr. Porter withdrew their motion.

THE COURT: Okay. So -- all right. So that doesn't
affect yours.

Okay. So the Porters' motion to sever, pursuant to
doc 302, will be withdrawn. We'll include that in whatever
order we do. But you still have your preliminary motion.

I saw it was very brief and said you don't know yet
and the government says you should Know. We probably don't
need to spend a lot of time on it. But if you want to -- if
you want to say something, where we stand right now, I'm happy
to hear from you.

MR. SADOW: 45 seconds.

THE COURT: Sure.

MR. SADOW: Some courts require you to file a
preliminary motion to keep it alive. I did so. I did not
attempt to set forth facts, because at the time I filed it I

didn't have any.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 126 of 182 PagelD 2027

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126

 

 

Things are a little different now. And I'm not
suggesting that needs to be a motion for severance in a jury
trial. I'm wondering whether or not -- and I have to confer
with my client a little further.

I'm considering whether or not I wish to file in
writing a Rule 23(a) nonjury trial request with the Court.
There's some case law that suggests, even if the government
does not consent, that the Court would have the authority.

With the matters that are now before the Court
through the Brady motion, as well as discovery and so forth, it
may well be that that right to a jury trial in this case is
something we're willing to -- to give up. And I'd like the
opportunity to consider that.

If I file one in writing and the government consents,
that's fine. If they don't, then obviously I need to brief the
issue as to what the Court would be able to do.

There's a recent case that was just decided out of
the Eastern District of New York in August of 2020 in which
COVID was a basis for ordering a nonjury trial upon the request
of the defendant, along with other factors, of course.

In this case it may be much easier for a
determination to be made in a speedy fashion to have the Court
do so. And I'd like to keep it alive for that basis.

THE COURT: All right. Well, of course, I'm not

going to prejudge any motion you might file. And I'm not --

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 127 of 182 PagelD 2028

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127

 

 

I'm not -- I think, obviously, that would have to be a
considered decision. And we'll see.

But I'11 -- I'm going to just -- I'1l1 rule on the
motion to sever at this point. It's a preliminary motion to
sever. That's not been a general practice in our court. But
I'll rule on that motion. I won't try to predict or prejudge
any other motion that might be filed in the future.

And I think we're also going to be -- as we get to
the end of the day, whenever that is, we will be talking about
schedule, we will be talking about trial date, we will be
talking about COVID. We'll be talking about all of that by the
end of the day. And so we can -- we can have those
discussions.

All right. I have a motion by the defendant Dural
to strike surplusage, the word kickbacks. And I think we can
have that discussion at some other point.

Again, it's possible I won't send the indictment
back. It's possible that that might be an in limine issue in
terms of proof or terminology. But I'm not going to take
additional argument on the motion to strike surplusage, doc
214, at this time.

Likewise, I will not be taking argument on the motion
for the James hearing, doc 253. Well, I'll tell you what,

I'll -- if the Porters -- one lawyer, how about, since you both

Tiled it.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 128 of 182 PagelD 2029

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128

 

 

If you just -- you saw what Mr. Duva said. It's not
typically the way we've been doing it. It's not even clear
that the rules contemplate it as much as they used to back in
the day.

If there's something I'm missing out of that, I'm
happy to be educated briefly. But does anybody -- do you wish
to be heard?

MR. SCHWARTZ: Just briefly, Judge.

I think that the main basis for the government's
objection is simply that the Middle District hasn't done it in
20 years, and if you start doing it you're going to break the
seal and have to do it in every case.

The concern that we have, obviously, with 801(2) --
or, I'm sorry, (d)(2)(E) hearsay, is that if it is presented
during trial, the jury has heard that information. And if the
government can't button up their case at the end, then this
Court has to go back to the jury and say, When Witness No. 1
testified six weeks ago, they made the following statements.
You have to disregard that now, Witness 2, 3, 4, whatever it
may be.

And from a defense perspective, jurors, we don't
believe -- they just don't think that way. Although the Court
gives instructions not to make your mind up about anything
until, you know, you've deliberated fully at the conclusion of

the case, human nature is to gauge individuals and make

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 129 of 182 PagelD 2030

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129

 

 

decisions very quickly on whether you believe they're
trustworthy or not.

And for a jury to keep all of these statements
separate and independent in their mind in what's likely going
to be a six- or eight-week trial, maybe even longer, is --

THE COURT: Give me a concrete example of what you're
talking about, so I can understand. Because as you probably
know -- I mean, certainly it's not a reason not to do something
because we haven't done it in 20 years.

If it's supposed -- you Know, if it's a good idea to
do it now, or the law says I should, of course I'11 do it,
and -- but we -- I've tried a lot of conspiracy cases over the
years. So have my colleagues. And we haven't had James
hearings in advance. We've used the tools the rules give us to
adjudicate those matters.

So just -- just give me an example of what you're
talking about, so I could -- can understand what you're saying.

MR. SCHWARTZ: Sure. The main concern that we have
is that -- at least from our perspective, and I believe from
the perspective of the documents that are in our possession,
the government's position in this case is way off base.

They believe certain things are occurring. We have
documents to prove otherwise. They believe that the insurance
companies have been forthright with them. We have documents to

prove otherwise.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 130 of 182 PagelD 2031

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And the concern is -- is that they decide in their
judgment that we're going to call the following coconspirators
and they're going to elicit a bunch of this 801(d) (2) (E)
hearsay information.

And then they find out afterwards that the position
that they took or what they thought was just wrong. And at
that point the Court has to correct that information.

I understand that taking a little bit of extra time
to do this ahead of time is difficult and the Court's very
busy. I'm not suggesting that they have to bring the witnesses
in and have them testify or anything else. I believe they can
do it by proffer.

But it would not be all that difficult to say, We
plan to bring in 801(d)(2)(E) hearsay statements with the
following alleged coconspirators, about whatever they're going
to say, and this is how these coconspirators tie together.

If they're able to show that ahead of time and the
defense looks at it and says, Okay. Well, at least as to how
you're alleging these things occurred, we don't have anything
definitively to show that they're actually not coconspirators,
or whatever else, then no harm/no foul.

But if we determine that what we have -- you know,
documents and other information that will prove that these
people are not coconspirators, and by eliciting this hearsay

that's not able to be cross-examined, we believe that it would

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 131 of 182 PagelD 2032

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131

 

 

be harmful to the defense, and -- because the jury would get it
and then it would have to be essentially redacted out of their
minds, we believe that's just a better -- a better way to
handle it.

And in the brief there's a number of quotes from
appellate courts throughout the country that basically says
that, you know, if possible, the better way to handle this is
ahead of time, to prevent potential irreparable injury to the
defense, possibly even a mistrial.

And normally, when you're dealing with conspiracy
cases, you're dealing with, you know, human trafficking or drug
trafficking. It's pretty straightforward. And usually the
government has, you know, done a good job investing in the case
and they have control of it.

In this situation, they're relying on insurance
companies to provide the base level of investigation. And we
just went over that with the Brady stuff, so I won't go over it
too much.

But we know at this point that the insurance
companies have withheld information -- material information
that the government has relied upon.

And there is an extreme concern that the government
will think one thing, but information that the defense has will
prove another. And I would just prefer not to have that occur

in front of the jury and then the Court go back at the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 132 of 182 PagelD 2033

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132

 

 

conclusion of trial saying that the government couldn't tie
those bows up.

I'm not even suggesting that we need a full hearing.
I think that the government can put a table together, identify
whatever coconspirators are going to testify, or they may --
you know, may testify, say generally what their statements are
and how they relate and tie in.

And I think the Court can look at that with a brief
and response by the -- by the defense that says, Wait a minute,
take a look at these documents, take a look at this
information, these deposition transcripts from the civil case,
whatever it may be, that show that that information is not
correct, and then the Court can make a determination.

THE COURT: All right. Thank you.

Okay. Who -- Mr. Duva?

MR. DUVA: Yes, Your Honor. And we'll stand on the
response. I mean, much of Mr. Schwartz's presentation was
about how wrong the government is and the allegations in the
case. That doesn't really have much to do with a James
hearing.

And, arguably, the James case is no longer good law
for two reasons. And if I was in South Louisiana, I'd probably
say Bour-jai-lay, but I'm in Jacksonville so I'll say
Bour-jaily. And also --

THE COURT: Kind of like Dau-bert and Daub-ert,

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 133 of 182 PagelD 2034

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right?

MR. DUVA: So the Supreme Court's decision in
Bourjaily and the subsequent amendments to Federal Rule of
Evidence 801(d)(2)(E) really negate the necessity or the
requirement of a James hearing. And the game has changed since
the James decision.

So Bourjaily says the government needs to prove the
preliminary facts established in the conspiracy only by a
preponderance of the evidence and that the statements sought to
be admitted could themselves be examined as evidence of the
underlying conspiracy.

I've been here 14 years. I've never had a James
hearing. The only one that I know of was in 2001 from a
visiting judge in Oklahoma. Judge Schlesinger similarly denied
motions.

And I would argue in this case it's even less
necessary. And we point this out in the brief. This case is
about what the defendants collectively did and what
misrepresentations were made to the insurance company that
caused the insurance companies to pay the claims, and how the
defendants then hopped from hospitals in Florida to a hospital
in Missouri, and then Mr. Durall from hospitals in Florida to
Chestatee and Dahlonega, Georgia. So it's more of what they
did than what they said to each other along the way.

I will point out two individuals who pled to

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 134 of 182 PagelD 2035

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134

 

 

informations, Kyle Marcotte and David Byrns. They both
testified in the grand jury. It was relatively expansive. We
turned that information over early. That was in one of the
initial discovery productions.

So the government believes for -- because of the
Supreme Court decision, the amendments to Rule 801, and the
discovery, and how it was provided with respect to grand jury
testimony, that a James hearing is just unnecessary in this
case.

THE COURT: Thank you.

All right. Here's what we're going to do. We're
going to take a break. We can't just keep going, I don't
think. It's not fair to the court personnel nor to the
parties.

So I think what I'm going to do is we're going to
take a 45-minute break. I think that's enough time for you to
step out, get a sandwich, if you're going to, and just take a
break. And so we're going to be back in session at 2:05.

When we come back into session, the first motion will
be the government's motion in limine, and then we will get into
the Daubert motions.

And then we will do that. And then at the end of the
day we will be talking about whether we need to reset the
schedule that we're on and any other matters by way of status

and whether we need an interim status.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 135 of 182 PagelD 2036

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135

Anyway, so I want y'all, to the extent that you're --

want to talk to each other about it or either -- at least talk
amongst yourselves, any -- any -- any motions to continue based

on anything, I'll entertain at that point. Because I would
like to leave today having a better understanding of what we're
going to do going forward here.

So that's the plan. And we are in recess until 2:05.

COURT SECURITY OFFICER: All rise.

(Recess from 1:21 p.m. to 2:06 p.m.; all parties present.)

COURT SECURITY OFFICER: All rise. This Honorable
Court is back in session.

Please be seated.

THE COURT: All right. We're back in session. And
we'll take up the government's motion in limine to preclude
defendants from arguing no fraud occurred because insurance
companies paid claims. That's doc 211.

Who's going to argue that?

MR. DUVA: Yes, Your Honor. And we'll be very brief
about this. And I -- and I think ultimately there's -- there's
probably some agreement here.

We want to bring the Svete case, which we know the
Court is well aware of, the Eleventh Circuit case, to light.

In this scenario, I think what ultimately will happen, which is
permissible, is the defendants will say -- of course, they

don't have to prove anything. I'm not suggesting that.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 136 of 182 PagelD 2037

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136

 

 

But the theme of their presentation is going to be
the insurance companies paid because there was no fraud. The
insurance companies paid because this was a proper reference
lab scenario. We're not trying to preclude that. That's
totally fine.

It can't stop at the insurance companies paid and
they just kept paying. There's got to be the "because." And
think in this case, with this group of lawyers, there will be
the because. And that's all we're after here. And that's
totally permissible.

THE COURT: All right.

There was a joint response filed by the defendants
Durall and Zaffuto. Do either counsel for those parties wish
to be heard?

MR. SAMUEL: I don't think I have much disagreement
with the government. I mean, we Know we can't say, You're a
victim and, therefore, it's your fault. But as you can tell
from our defense so far, we don't think there was a victim at
all in this case, and -- but...

THE COURT: Well, I -- okay. You Know, I think the
evidence will come in -- certainly -- certainly the fact that
these claims were paid will be part of the evidence. And
people will make what they will of that.

But, you know -- and I think probably all of us know

what's permissible and what's not, so I'm -- I think to the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 137 of 182 PagelD 2038

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137

 

 

extent the government's motion has brought that issue to light,
I think that's fine. I think the response of the defendants is
perfectly appropriate too. So I don't -- I don't take us to
have a whole lot of disagreement in this area.

Mr. -- I guess, Ms. Galnor or Mr. Landes, did you
wish -- because I guess you filed one as well, Mr. Landes.

Does either one of you wish to be heard?

MR. LANDES: Judge, I would, just -- I did file a
pretty detailed response. And perhaps from what I've heard
here today, I -- it was my thought that the government was
seeking to preclude the defendants from talking about, you
know, all the conduct of -- of the insurance companies.

So -- and what I heard Mr. Duva just say, Well, we'll
allow that claims were paid, but not because -- I would just
like some clarification on that, because I think there's an
awful lot of fertile ground in terms of cross-examining these
insurance companies.

And I don't want to get into a situation where I ask
a question about, Well, isn't it true that you sought to
renegotiate these contracts, that a team of lawyers and Florida
Blue executives met with various defendants to try to
renegotiate this? And then the government jumps up and says,
Nope, United States versus Svete, you're questioning the
conduct of these insurance companies.

So since we're on this issue, I would just like a

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 138 of 182 PagelD 2039

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138

 

 

little bit more clarification as to what the government or what
the Court thinks is permissible and what's not permissible.

I mean, I can go through examples of what I would
generally seek to question the -- you know, the insurance
companies about. I could do that if the Court wishes. I've
got -- no.

THE COURT: No, I don't think so. I mean, I just
don't -- I mean, obviously, if I got an objection to that
question, I'd rule on it, but, you know, that sounds like
permissible cross to me.

And, you know, I think I'm just going to have to deal
with this at the moment. But it certainly -- I just don't
think there's a real issue here. And I don't want to try to
get into specifics or try to say what I'm going to do if
somebody raises an objection, but -- and if we get closer to
trial and we need to talk about this again, we will.

MR. LANDES: All right. It just -- it's only because
it was the government that filed the motion that put everybody
on notice that there were going to be certain objections to
things. So I would -- I would just like some clarification as
to what the government thinks is over the line.

THE COURT: I understand. All right. Thank you.

Ms. Galnor, did you wish to be heard?

MS. GALNOR: No, Your Honor. I would just rely on

the responses.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 139 of 182 PagelD 2040

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139

THE COURT: Mr. Duva, did you want to say anything
else?

MR. DUVA: No, Your Honor.

THE COURT: All right. Okay. And as I said,
Mr. Landes, if we're still -- if we still need to talk about
this when we actually get closer to trial, we certainly can.

All right. We're now on the Daubert motions. And
we're -- let me make sure I got my ducks in a row here.

So it seems to me that -- we've got a number of
these. It seems to me -- I'm just going take them up, frankly,

in the order that I prepared for them. And if it makes -- it
may make more sense to -- I'm going to go ahead and take up the
motions regarding the expert that we have taken to calling

Dr. K, because we don't know how to say his last name.

MR. SADOW: Absolutely.

THE COURT: And so let's -- let's go ahead and do
that. I have a joint motion to conduct the Daubert hearing
filed by Durall and Fletcher. I've got the defendant James
Porter's motion to preclude expert testimony. That's doc 261
and 262, respectively. And I've got the government's written
response at doc 281.

Who's going to handle this for the defense?

MR. SAMUEL: Your Honor, Don Samuel on behalf of
Mr. Durall. And there's a jointly filed motion with
Mr. Fletcher.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 140 of 182 PagelD 2041

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I talked to Mr. Hayes a little bit over lunch. And
here's the -- you know, kind of preliminarily, the problem is
we were given a 50-page report with lots of exhibits -- or a
couple of lengthy exhibits.

So we felt obligated to at least go through the
report and highlight, which we did, all of the objections we
had to what he said.

Mr. Hayes agrees, from my conversation with him, that
some of it clearly is -- they wouldn't even think about putting
it into evidence. The report itself doesn't go into evidence.

Some of it is much more a -- kind of a 403 argument
than strictly a Daubert argument. And, in fact, we don't
question the fact that Dr. K is, in fact, well-credentialed.
There's just no doubt that he is a -- someone who's experienced
in the field.

What we are left with, though, are what Mr. Hayes and
I probably think are going to be a fairly limited number of
disagreements. And I say that only because I think some of my
objections are just kind of obvious. He can't get on the stand
and say, Let me tell you how bad health care fraud is in this
country.

I mean, that's -- nobody is going to try to put that
in evidence. He's not going to be able to say, Let me tell you
what these defendants were thinking. He's not going to be able

to say that.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 141 of 182 PagelD 2042

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141

 

 

So what I suggested to Mr. Hayes, Why don't we try to
take this off of the judge's plate, at least temporarily, and
isolate where we really have disagreements. And we agreed to
do that.

I'm not quite sure what -- our schedules of doing it,
but we could do it pretty quickly, because we've said, Look, 50
pages. There are many pages we didn't have any objections to.
We agreed they're the proper subject of cross-exam- -- excuse
me, the proper subject of expert testimony, such as, you Know,
what different codes mean, you know, strictly, and how the
systems work, you Know, and how -- what the EDI is and all
that. We have no objection to that.

I think there is going to be some disputes about --
if I had to guess, I would say that Mr. Hayes and I will
definitely disagree about the extent to which the expert can
testify, Let me tell you what these contracts mean to the two
parties. I think there we will disagree.

You know, again, the expert is still going to come
testify. So we're not talking about that. And we're really
probably only talking about a legal argument as to, Why does he
think his expertise allows him to say what Mr. Durall was
thinking? Why is his expertise such that he can offer an
opinion what a contract means to the two people who signed it,
both of whom are going to be in court?

And I kept stressing that in the -- in the -- in the

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 142 of 182 PagelD 2043

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142

 

 

brief, which is that obviously the government is going to have
Blue Cross Blue Shield people here, and they're going to
testify, This is what the contract means to us.

And, you Know, the defense will take the position
either that's not explicit and, therefore, it's ambiguous, and,
therefore, it is, you know, arguably a directed verdict motion,
because it's -- it's ambiguous, and one of the -- one of the
reasonable interpretations favors the defense, and that's the
end of the discussion.

So my proposal to you is to see if, you Know, in the
next few weeks Mr. Hayes and I can talk or go through the
document and have him say, Here's where I disagree with your
highlighting.

Otherwise, I'm -- all I feel like I can do today is
sit here and go through all 50 pages, which is obviously
something you don't want me to do, and is pointless if the
government agrees with a lot of it.

THE COURT: Well, I think that's fine. I encourage
it. And the only thing -- and this is a commentary on all of
the expert testimony. And I don't have it all quite lined up
in my mind yet, because it's -- because I have -- I have a
bucket of experts who weren't objected to at all over here.

Then I've got some who were objected to by both
sides. And I'm -- I'm not even sure right now I could match up

who's supposed to be responding to who exactly. There's some

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 143 of 182 PagelD 2044

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143

 

 

overlap.

But my point is that whatever I come down on, or
whatever I do by way of Daubert or a limitation on expert's
testimony, one thing I'm going to desperately be trying to do
is to be consistent, so that I'm not saying to the government,
You just can't have your expert do this --

MR. SAMUEL: Yeah.

THE COURT: -- and at the same time find that you're
trying to get your experts to do the opposite of the thing I
just told the government.

So when you're having those discussions, try to think
of it on a more global basis, too, because I don't -- I'd like
to be -- hopefully I'll be consistently right, but at least I'd
like to be consistent. And so -- and so keep that in mind, if
you will.

MR. SAMUEL: I will. I don't -- you know, I -- I'11
have to consult with my colleagues on the defense side. You
know, Mr. Hayes probably can keep better track of what
everything is, because I don't have the same familiarity with
their experts.

But, you know, as I said, I think we have very narrow
disagreements. And if we could isolate those and get back to
you on that, I -- you know, I think it's likely we will still
need a hearing at some point. We weren't going to have a

hearing today anyways.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 144 of 182 PagelD 2045

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144

 

 

So I just would like to be efficient with the Court
and I -- and from my conversation with Mr. Hayes he agrees with
me, so...

THE COURT: Sure. That's fine. And I'm happy to do
that. Just so we're clear, whatever we do today, I do consider
it to be a Daubert hearing. If by meaning that we weren't
going to actually have the experts --

MR. SAMUEL: Right.

THE COURT: -- here testifying, that may be something
we do in the future, but it also may be something we never do.
That's not my typical practice.

If I -- because my experience has been that we can
usually figure it out and -- and to require a whole kind of
mini trial on experts and have them up here and so forth,
that -- I'm not ruling that out. And if it's requested, I'1]
certainly consider it. But don't count on it.

MR. SAMUEL: Right. Well, you know, in my experience
you end up having a full evidentiary hearing with the expert on
the stand when you're talking about a scientific test. You

know, is that test really reliable? You know, what other

people have used that machine? What other people have -- you
know, have said that that machine -- this is not that kind of
expert.

This is more like a gang expert or a -- you know,

something like that, where it's totally experience-based. And

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 145 of 182 PagelD 2046

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145

 

 

he's -- he's obviously got credentials that we're not going to
say, you know, he's just making this stuff up. So I
understand.

THE COURT: Okay. Thank you.

Before I ask Mr. Hayes what he wants to say, there is
also the defendant's -- James Porter's motion.

And so, Mr. Schwartz, do you wish to be heard?

MR. SCHWARTZ: Yes, sir. In light of what counsel
just talked about with Mr. Hayes, I believe that it would be
prudent for us to also consult -- not just with Dr. K, but on
the other experts also with Mr. Hayes to see if we can come to
an agreement. If we can't, then obviously we can advise the
Court on that, if the United States is willing to do that.

THE COURT: All right. Mr. Hayes, what say you?

MR. HAYES: Your Honor, I think that makes good
sense, the suggestion from both counsel. Obviously we are
willing to do that.

I would say that largely, if we were going to have a
full-blown argument today, the government would have rested on
the papers.

But what I would have said was there's no need for a
Daubert hearing where the expert has to come in, which is what
I call a Daubert hearing.

And the Court has said, I have a differentiation --

everything is a Daubert hearing. It's just whether we're

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 146 of 182 PagelD 2047

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146

 

 

taking evidence from the expert.

We would say that it's not necessary. And we don't
think there's any question that both -- I can probably address
them both. If we don't think there's any question that both of
the experts that there are motions from the defense on are
qualified, what the government seeks -- I don't think there's
any meaningful dispute about that, or that it would assist the
trier of fact.

Some of the objections seem to be about methodology
or prejudice, because largely I think, Your Honor, both motions
are almost 403 motions. They're saying that -- they're going
too far in certain aspects.

So as I said in our response, we don't dispute that
Dr. Kongstvedt -- I just tried to pronounce it, but I will call
him from Dr. K from now on. And I'm not even sure I said it
right, Your Honor.

But Dr. K will not draw legal conclusions. He will
not tell the jury what to think. He will not interpret the
contract as in the Herman case pointed out by the defense.

What he's doing is applying his knowledge of industry standards
to the contract terms that he reviewed and that the defendants'
conduct that he reviewed is expressed in billing he reviewed,
and then opining whether or not that industry standard was met
or deviated from, and whether, based on his experience, which

is extensive, over 30 years, in this industry -- what would

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 147 of 182 PagelD 2048

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147

 

 

have happened in terms of would an insurer have paid these
claims or not.

And what I mean to get to, Your Honor, is we view
this very similar to the United States v. Gold case.

Mr. Winters earlier was saying it's very akin to a Medicaid
fraud case in a different context.

And we agree in this context, in that it is very
common for program witnesses in health care fraud cases
involving Medicare to come in and testify about what would or
would not have been paid.

And we think any prejudicial problems can be cured by
an instruction by the Court to the jury about, This is how you
take the expert's testimony. Civil violations are not in and
of themselves a crime. A violation of the contract -- I heard
the defense say this a few times -- is not in and of itself a
crime. It just could go to the defendants’ intent. That's one
possible instruction.

The Court can also instruct the experts, You are not
to say they committed fraud, don't use the word fraud.

I found -- I'm going to give a shout-out. This
exhibit was very helpful. I've never seen this before, where
they highlight, These are the major points of contention. It
made it very easy to prepare for the hearing. So I thank
counsel for it.

I'll just point out that, yes, we think that saying,

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 148 of 182 PagelD 2049

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148

 

 

The cost of fraud is borne by everyone, including you, every
member of the jury -- if someone cheats, you have to pay more.

Naturally, I don't think the Court would envision a
scenario where that kind of testimony would come out. However,
there's other factual stuff in there that they appear to be
objecting to, like the percentage increase in billing once the
defendants took over different areas, and a few other things
that we think are four-on-the-floor facts.

So what Dr. Kongstvedt is going to be doing is
providing opinions on the ultimate issues of fact, not on the
ultimate issues of law.

And we think, as laid out in the papers, we have kind
of, I think, stated what he's going to do. On page 6 of the
brief we lay out, These are some of the opinions he's going to
give, answering questions of hypotheticals or not.

He'll say, The defendants' lab wasn't a reference lab
as that term is commonly understood, because these samples
never went to the hospital. They went directly to the lab.

That's not a reference lab. No one thinks that's a
reference lab. We think that's important to put everything in
factual context, because, yes, we are going to have insured
witnesses testify. And they're going to be crossed ably by
defense on, You have a stake in this. You are the victim.
They've said this today.

We're going to bring in someone to put what they're

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 149 of 182 PagelD 2050

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149

 

 

saying in factual context to present to the jury that much of
what they say comports with the industry standard of -- albeit
a government expert, we understand. But it is somewhat more
objective in the sense that he's not a victim.

Also, what Dr. Kongstvedt will be testifying to is
what the defendant -- what the defendants did, not what they
thought, and whether what they did was contemplated by the
contracts.

The analysis he gives is, I wouldn't expect a
contract to say you may not engage in the running of the bulls
of Pamplona down the hospital halls, appears in his report.

Why would you ever put that in the contract? He
actually says this in his report. We would say that another
thing he's saying is, I would not expect everything to be in a
contract that could be done to violate it. What I'm saying is
that what the defendants did here wasn't even covered by this
contract.

That's not contract interpretation, as much as saying
there's an absence of the reference labs that they called
arrangement that exist in this case.

Unless the Court has any questions...

THE COURT: Thank you.

All right. Then I'll determine whether to just carry
the motion or to deny it without prejudice. But I think the

idea of having the areas of disagreement narrowed is a good

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 150 of 182 PagelD 2051

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one. And I think it will make it more profitable when and if
we have to address this again.

All right. We're on defendant James Porter's motion
to preclude expert testimony of Dr. Kelly J. Clark, doc 263, to
which the government filed an opposition at 282.

Mr. Schwartz.

MR. SCHWARTZ: I would propose to do the same thing
that we're going to do with Dr. K. with the four experts.
There's obviously things in my client's experts' reports that
would not be testified to a jury, but it's more about how to
show your work, how you got from Point A to Point B. I think
in having that conversation, we would streamline these issues,
if they're amenable to it.

MR. HAYES: I think that --

MR. WINTERS: Your Honor, if I may, Gary Winters for
the government. I was planning to speak on the motion with
respect to Ms. Shaw and Mr. Berry, the Porter experts. We have
a slightly different position with respect to those.

As to Ms. Shaw, as we say in our brief, we don't
believe she's qualified to offer these opinions. She's an
attorney, and an honorable profession; we're all attorneys.

But, you know, as we read the report, it's
essentially, you know, trying to put an attorney on the stand
to testify to what the defense lawyer would like to argue to

the jury, let's put that in the guise of expert testimony.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 151 of 182 PagelD 2052

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151

 

 

And so we have real concerns about the qualifications
of this purported expert to provide any testimony in this case
at all.

I mean, there are thousands of practicing health care
attorneys in this country. And that does not make them all
capable of testifying as experts in a criminal trial involving
fraud.

I think when you look at the qualifications of
Ms. Shaw and Dr. Kongstvedt in comparison, there really is no
comparison, in terms of industry Knowledge and industry
involvement and industry background and so forth.

So I don't mean to get into the whole argument now,
and I'm happy to do it separately if Your Honor wishes, but I
just think we do have a different view as to Shaw and Berry, as
well, who -- it's hard to even discern what the opinions are.

THE COURT: Well, I think it's probably worthwhile --
as long as you-all are going to be talking about experts, it's
probably worthwhile talking about them all. And -- and I
understand.

And if you want to -- you know, if you want to
maintain that position after you've discussed it -- I mean,
there may be areas of testimony that you would agree that
Ms. Shaw would be able to talk about.

I don't have a view on it at the moment. And I --

I -- when I hear you talk, in terms of relative qualifications

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 152 of 182 PagelD 2053

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152

 

 

of your expert versus theirs, you know, that -- that can be a
Daubert issue, depending on lack -- if there's an absent -- if
there's an absolute lack of qualifications to talk about
whatever the person is talking about, that's one thing. If
we're talking about relative qualifications, that's
cross-examination.

And so I -- I would eventually, if not now -- at some
point, I would have to make a determination of which of those
two things it was. But I -- I think it's at least -- you know,
if the -- if the defendants are willing to talk to y'all about
your experts, I think you ought to at least be willing to talk
to them about theirs.

And you may not end up agreeing. And I understand
there can be differences, and maybe that just because one
expert is qualified or can testify, the other one can't, but I
just want to be -- I think it would be good to have it all go
together and we can figure it out.

Because we're probably going to end up having some
discussions about experts at some point. We're going to have
some type of Daubert discussion, I'm sure, even if it's ona
relatively limited number of topics.

So, Mr. Hayes, did you want to say something?

MR. HAYES: Briefly, Your Honor. So I think, Your
Honor, one appreciable difference we see is Ms. Shaw is a

lawyer advocating, as we said in our opposition to her

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 153 of 182 PagelD 2054

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153

 

 

testimony; whereas, we see Dr. Kongstvedt as an industry
professional who's talking about the standard of practice in
the industry.

And moving aside from that, what I really wanted to
stand up and talk about, Your Honor, is -- I flew all the way
down here. And I wanted to talk about Dr. Clark very briefly.

THE COURT: Yeah.

MR. HAYES: This is -- there is medical necessity --
or lack of medical necessity alleged in the indictment. It's,
for example, in 37(k), the all-important paragraph 37. It's
also in the substantive health care fraud counts. It's a key
issue because this is a health care fraud case.

So what we're saying is that -- we've been talking
all day, and we had to -- I'm not blaming anyone. There's a
lot of motions here. We've been talking all day about how the
defendants billed for services and whether that was proper or
not. We're also saying it's what they billed for that's a
problem.

And in a health care fraud case, there's no question
that medical necessity is an issue, as we've alleged. And
there can be no meaningful dispute, we would submit, that
claims have to be medically necessary in order to be
reimbursed, and that everyone here, with the exception of
Mr. Porter, who's only charged with money laundering, knows

this, because the contracts and provider manuals -- and

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 154 of 182 PagelD 2055

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154

 

 

Mr. Schwartz is right, that -- maybe one or the other, but
that's a distinction without a difference for these purposes.

There's no question that services have to be
medically necessary to be reimbursed, and everyone knows that,
lab owners, owners and operators of rural hospitals, everybody.
Page 23 of Dr. Kongstvedt's report outlines this.

We relied on doctors as a defense. We understand.
But we're saying the fraud was so blatant here, so
systematic -- and, Your Honor, there was a lot of disclosure in
this case. I'll just drop -- and it makes a thump -- the
expert report of Dr. Clark.

We have endeavored to provide an awful lot of
discovery for the experts here and given an outline of her
likely testimony. And the patterns that she identified for
four hospitals for three billers are largely the same.

So what we're saying is it's systematic. It's
repeated. The volume is incredible. The services are clinical
medical nonsense. She said, I don't need to look at patient
files to tell that the diagnosis codes don't match. There's no
earthly reason to do this sort of thing.

And what that means is -- we're saying we understand
there's no medical professional defendants in this case. We're
saying this fraud is so blatant and systematic that --

THE COURT: So tell me -- tell me -- because this was

something I was interested in anyway, because I saw "medically

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 155 of 182 PagelD 2056

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unnecessary." I saw that was one of your defenses to the
motion to dismiss, that it was alleged in the indictment, which
is a more -- I guess if you want to -- it's a -- maybe a more
typical health care fraud allegation.

Usually it's made against doctors or other people who
are prescribing tests that may be unnecessary or disallowed by
Medicare regulations, or something like that.

So just -- just help me for two minutes. So how -- I
understand you say it was so blatant and obvious. But what was
so blatant and obvious? Who was -- who was ordering these
tests that you are now contending was medically -- were
medically unnecessary?

MR. HAYES: What we're saying, Your Honor, and as we
said in our papers, we don't dispute that doctors order and
authorize the tests. We're saying that the people who are
billing for the tests, which are most -- the main defendants
that run billing companies, they Know what's being billed. The
labs know what's being tested.

And similar to some arguments that have been made by
the defense in another context, you can't be an ostrich and
bury your head in the sand if you know certain things are going
on to a volume that goes over the top, where it's just common
sense, this sort of thing can't be done, and you don't need to
be a medical professional.

THE COURT: So give me a -- give me a concrete

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 156 of 182 PagelD 2057

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example so I'm understanding. A doctor would order a drug test
for what reason, that the defendants should then have known
that that was unnecessary and should have, what, not submitted
it? Is that -- if it was ordered?

MR. HAYES: Correct, Your Honor. Similar to
insurance companies can reject claims. It's that same thing.
And, also, I'll give a specific example from the indictment,
37(m), Kyle Marcotte, kickbacks, where it is reasonable, at
least for Mr. Durall, if he -- if the allegations are proven to
be true, you're paying kickbacks for people from Beaches, a
sober home and addiction treatment facility in Jacksonville.

It stands to reason that it was in the same pattern
of massive overbilling, unbundling of claims, as Dr. Kongstvedt
points out. And he's just talking about his -- my experience
in the industry is if you are -- contract in a certain way, it
may behoove you to make more money to unbundle claims and to
bill exorbitant amounts, because in percentage billing you make
that much more money. And that's what I see happening here in
the billing. And Dr. Clark says the same thing in different
ways. She sees -- I see massively over-expensive tests again
and again with no medical reason.

So then what you've got is, I'm paying kickbacks to
even get these samples in the first place. And that alone,
when it's this kind of activity -- they know the source of the

patients, Your Honor. They Know they're coming from all over

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 157 of 182 PagelD 2058

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the country.

The same doctors all over the country -- there's two
million claims. They're not -- we will present to the jury
that it doesn't make any sense whatsoever, not only for a
patient from California to send their sample to rural Florida
to be tested, but also that all these doctors from all over the
place are doing it in the exact same way all the time in the
same pattern over and over again, and it doesn't even matter
which hospital or which doctor.

So we'll say that -- the specific example the Court
just asked me for in the indictment is the connection between
Durall and Markotte. And we will present other evidence as
well that connects this up.

THE COURT: Okay.

MR. SADOW: Your Honor, may I speak to this just for
a moment?

THE COURT: Sure.

MR. SADOW: What the government said is all in
good -- let me go to the podium.

What I understood the government to just say, Your
Honor -- Steve Sadow for Mr. Fletcher -- was that it's not
necessary for their medical expert to review the medical files
of any of the patients, so individuals submitting urines for
testing, because it was so overly done that everybody had to

know.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 158 of 182 PagelD 2059

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158

 

 

Now, when you're talking about Daubert, what's the
methodology that's involved in making that determination? You
don't look at the medical record. You don't look at what the
provider, that is, the physician, has said.

And is it, therefore, the methodology that's being
employed is that the laboratory that is complying with the
provider -- the physician's order, that there is something
within the methodology that's being used to say that the
laboratory individual or the laboratory itself is now supposed
to contest the requisition order of the provider physician,
because it could be too many, but we don't know if it's too
many because we really didn't look at the medical records?

I think what we're talking about here is a -- we're
going to put an expert up that really doesn't have methodology.
This expert has testified in other cases about rehab and what
has gone on with doctors and individuals in rehab situations,
in which he has actually looked at the medical records of those
individuals that are being, let's say -- being abused, and able
to determine from those that the doctors were prescribing
improperly or that tests were being ordered too much.

We're not going to have any of that. What we're
going to have from the government here is some methodology,
apparently, in which the expert gets up and says, I'm an
expert. I Know how many urinalyses ought to be done, or urine

drug tests ought to be done. This is way, way, way too many,

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 159 of 182 PagelD 2060

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159

 

 

and everybody should have known.

I think that's a classic situation where there may
need to be a Daubert hearing to determine the qualifications
and the methodology in this particular case, particularly as to
the laboratories, like LifeBrite, Mr. Fletcher's.

The rules say as clear as it can be, he couldn't have
denied doing what he's been provided to do if he wanted to. He
can't call the provider. He can't call the doctor. He can't
question the patient. All he gets is a requisition form that
says test this.

So methodology-wise, I'm not in agreement that this
particular doctor meets the same standards as the others.
Because as far as I can tell -- maybe I've missed it, and I
would apologize if I have. I haven't seen any expert testify
on this basis, particularly this expert, in the past.

THE COURT: Thank you.

All right. Well, my initial hope that the -- y'all
could all talk and we'd only have a few little issues to talk
about afterwards has dissipated slightly in the last ten
minutes, but I still think it's -- I still think it's a
worthwhile effort.

I mean, if we're going to have to talk about this --
and it's a little -- probably a little early anyway in the
cycle. And, you know, we'll -- we'll -- once you-all have

talked and see whatever you can agree to, if -- whatever that

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 160 of 182 PagelD 2061

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160
is -- and I hope you will make every effort to try to limit the
areas of disagreement -- then we can -- when it's appropriate

to do so, we'll -- if we need to, we'll tee it back up, but...

And I understand, Mr. Winters, your position that
Ms. Shaw and Dr. Berry are different than your experts, but
let's at least go through a process here where we try to see if
we can reach some agreements. And if not, then I'll deal with
it, of course.

But I'm happy to at least get five minutes' worth of
education on the medically unnecessary aspect of the case,
because I -- I wasn't quite sure what I was -- what the issue
was. And now I at least know what each of you are saying the
issue is. And so I'll -- that will help me as I'm thinking
about the case.

So unless I am wrong, that's all the motions that are
in front of me today. Have I missed any, or anybody...

All right. All those motions are under advisement.
Obviously y'all are going to talk about the Daubert. We'll set
up a schedule for that to be renewed, if we have to.

All right. So let me -- let me see where we are here
in terms of -- of the trial schedule, and --

MR. BELL: Your Honor, I'm going to make a motion, if
that helps move the ball along a little bit, in terms of
putting the scheduling issue before the Court.

THE COURT: All right. Go ahead, sir.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 161 of 182 PagelD 2062

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161
MR. BELL: Based on Mr. Perez -- and, Your Honor,
based on all the information the Court heard this morning,
primarily concerning the Blue Cross Blue Shield emails from
both Missouri and Florida, relative -- and Georgia, relative to

the hospitals in this case, and the 8371 information on behalf
of Jorge Perez, I'd make an ore tenus motion to continue.

If we got that stuff today, I'm not sure we could be
ready by September, given what I would expect the volume of the
information that would be there, particularly related to the
data -- the data transmittals, the 837I information.

With all the other issues that might unfold relative
to that, actually getting -- identifying and subpoenaing --
subpoena -- issuing subpoenas for all the correct people to get
them here, I think it's unlikely, under the best of
circumstances, if nothing changed, that we'd get ready -- be
ready by September.

But in light of the discovery, slash, Brady issues
this morning, I feel there's no alternative to adequately
prepare for this case but to move to continue it.

THE COURT: All right, sir. And are you specifying
to when? Or are you just asking the Court to consider it?
What's your --

MR. BELL: Well, Judge, I was going to respectfully
suggest a January/February range. I think some of my

colleagues may have a conflict. But I -- that may give a

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 162 of 182 PagelD 2063

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162

 

 

target date so that we can discuss when everybody might be
available.

I Know there may not be complete consensus on that
amongst the defense crowd, but it seems to be the minimum that
we would need.

THE COURT: Okay. All right. Before I ask the
government its position on that, then let me hear from -- let
me hear from counsel -- and I guess I probably need to hear
from each counsel briefly.

And please be brief about what your position is on
the motion to continue and any requests that you have regarding

scheduling.

I'm not -- you know, moving a nine- or
ten-defendant -- I guess nine defendants who are before the
Court -- iS never easy, especially one that's been scheduled to

take several weeks to try. So, you know, I'11 do the best I
can. But let me at least hear what your positions are.

So, Mr. Samuel, Mr. Sadow, whoever is speaking for
your clients.

MR. SADOW: Your Honor, if I might speak for
Mr. Fletcher. We are joining in the motion. We believe a
January date would provide us sufficient time, hopefully,
depending on the timing of the other disclosures, to get
prepared.

I have a trial that's supposed to take place in

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 163 of 182 PagelD 2064

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163

 

 

March. But to be perfectly candid, if this trial happens to
push that trial back, I don't have a problem it.

THE COURT: All right. Mr. Samuel, what about -- or,
Mr. Rafferty, what about your client?

MR. SAMUEL: Your Honor, here's what we'd suggest, is
we don't oppose a continuance, because we think we're going to
need one, even if we wait a couple of weeks or months to see
what happens.

But we -- we would like to make it contingent on that
we also reach an agreement today as to when the government is
going to comply with these discovery requests.

Because if we push it off until January and we don't
get the EDI and emails and other discovery until November, we
haven't accomplished anything.

So, you know, if it's January/February -- I think
Mr. Rafferty has got a trial. So whenever it is, we shouldn't
push back the discovery obligations correspondingly. We should
keep the discovery obligations now. And including in that, you
know, the -- the Daubert issues that, you know, Mr. Hayes and
the rest of us can figure out.

Because I think, in all honesty, these discovery
disputes are going to continue. It's a -- you know, as you
know, it's a complicated set of issues. We have -- we've only
talked about one private insurer so far. We haven't even

talked about United and Aetna. We're going to need all that

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 164 of 182 PagelD 2065

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164

 

 

information.

And I know the government will do everything they
can. And Mr. Winters will use the good offices of the
government, as you put it. But there has to be some compulsion
or the delay just is going to -- we'll be right back where we
are again.

So we don't oppose a continuance, but we --

THE COURT: Do you have -- either you or your
colleagues on the defense side, do you have Rule 17s out to
all -- all of the insurance companies?

MR. SADOW: Not for the data that is currently being
told to the Court, only for in-network and out-of-network
actual documents for pricing purposes. We have not done 17(c)
subpoenas for any of the other things brought up today.

MR. BELL: That's correct, Judge. I don't think
there are 17(c) subpoenas for any of the -- at least that I'm
aware of, for any of the subjects that we discussed today.

MR. SADOW: Your Honor, if I might add, the Court
currently has a -- I think a deadline for entry of pleas on
July ist under the current schedule.

Maybe the Court would consider giving a July 1st date
for the government to report back on all the progress it has
made on the discovery, with that date being -- not the
drop-dead date, but the date in which they should be attempting

to obtain that information from the insurance companies.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 165 of 182 PagelD 2066

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165

 

 

THE COURT: So I have Mr. Bell's client, Mr. Dural],
Fletcher -- Fletcher.

So, Mr. Schwartz, what about James Porter? What's
your position?

MR. SCHWARTZ: Yes, sir. We join in the motion also.
I would request the February or March trial term, and concerns
about volume of data, the dates that that data will be
produced.

I know I've got probably a million pages, maybe more,
of this billing and other stuff that I can't produce until the
protective order is modified in Missouri. And I don't know
when that will be.

The response deadline for the plaintiff to respond is
May 5th. I'm not sure if it will take the Court a week or
longer to decide that. And then once I get the order, then I
have to put it all together and shoot it to the defendants and
to the government.

And this is just from one of the insurance companies.
There's multiple. So whatever the government's able to obtain
is going to be ridiculously large.

So, again, to move trial now and then have to move it
again in three months or four months, you know, later, I don't
think is -- is very efficient.

And the other thing -- and I was going to bring this
up after the fact, but it's being talked about real quick by

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 166 of 182 PagelD 2067

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166

 

 

other defense attorneys.

As a result of discovering this billing, the ZirMed
billing, we're likely going to need a defense expert to
interpret what this means and to assist the jury in
understanding what all of these codes are and things.

So there's going to be a motion filed on that, to
allow another defense expert for that reason, or maybe
multiples.

THE COURT: Mr. Tasker -- I'm sorry. You're with
Mr. Schwartz, right? So -- Mr. Rowland, sorry.

MR. ROWLAND: Thank you, Judge.

We'd just join in Mr. Schwartz's request. And we had
talked about an additional expert. I think that would be
prudent as well.

THE COURT: All right. Ms. Galnor?

MS. GALNOR: Your Honor, I would join in the motion
also, and defer to the Court as to scheduling.

THE COURT: Mr. Lowther?

MR. LOWTHER: Your Honor, we don't oppose the motion.

THE COURT: Mr. Landes?

MR. LANDES: I join in Mr. Bell's motion. I think
the January/February date would be prudent, or thereafter. I
also agree that there should be a date -- I would propose
something like July 15th or August 1st -- where all of this EDI

material be produced by, so that all the collective defendants

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 167 of 182 PagelD 2068

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167

 

 

will have enough time to process that, go through that, review
it, review it with experts, et cetera.

Thank you.

THE COURT: Mr. Horowitz?

MR. HOROWITZ: Your Honor, I would join in the motion
to continue on behalf of Nester Rojas. And we agree to a
January, preferably a February date.

THE COURT: Mr. Horowitz, I already see your defense
strategy to be in the corner and hope that nobody mentions your
client's name -- is that --

MR. HOROWITZ: Judge, it worked pretty good except
for the three times you called on me.

THE COURT: All right.

MR. RAFFERTY: Your Honor, on top of scheduling, I
have a scheduled trial for January 25th of 2022 in the Central
District of California in front of Judge Oguin.

THE COURT: And how long is that trial anticipated?

MR. RAFFERTY: It's just a few weeks, Judge. It's a
money laundering trial involving three or four defendants.

THE COURT: Mr. Duva, Mr. Winters, who wants to
respond here?

MR. DUVA: Sure, Your Honor. Tysen Duva here.

I want to note that I think Ms. Galnor has the same
strategy as Mr. Horowitz, to sit in the corner and not be --

they're kind of together there, we think.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 168 of 182 PagelD 2069

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168

 

 

Yes, obviously we want to do what makes sense. We
want all the information that we can get from the insurance
companies. We think a continuance is inevitable.

I think setting a status conference, whether it's
telephone or in person, or whatever the Court prefers, a
reasonable time down the road to inquire what we've done, and
also what the defense has done -- I mean, I just heard
Mr. Schwartz say he's got millions of pages of documents.
Well, everybody ought to have those.

There's a protective order in this case that applies
to the discovery. So if he's got it, that seems like a pretty
good jumping-off point to provide it to all defense counsel.
I'm thinking they probably have some of it already. We don't
have any of it. That was news to me when he came to the podium
today.

So I think this could really get kicked off by a
disclosure of that material. And then we can take it and say,
Look, insurance company, this is what you have. Give us
whatever else it is you have, together with emails, and have
that same conversation with -- I Know we've before talking
about Blue Cross, but, of course, UHC and Aetna are in the case
as well. I think it will facilitate the discussion.

So we are -- we want to be an open book. And we are
supportive of some kind of status hearing to inquire where we

are and where we've been and what we've obtained.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 169 of 182 PagelD 2070

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169

 

 

In terms of a continuance, obviously this looks to be
a four- to six-, seven-week trial, depending on how many are in
it. We're banking on all nine at this point.

So a one-month continuance to October makes no sense.
You can't start a trial like this in November. And anybody who
wants to do this on January 3rd, you're nuts.

THE COURT: Yeah. I got over that. I -- I set one
in 2020 for January, the 8th or something, thinking I was
getting past the holidays. And both the lawyers and I spent
our entire holidays doing stuff that I hadn't really realized.
So I'm -- I'm not likely to set it right after the first of the
year, but I -- but...

All right. Thank you, sir.

MR. DUVA: And I know -- everyone has trial
conflicts. I think Mr. Hayes has one as well. That might be
even the same case as Mr. Sadow. I think they have a
complicated --

MR. SADOW: It is, Your Honor.

THE COURT: Okay.

MR. DUVA: So whenever it lands, I think it lands,
and everybody has to sort of react accordingly based on how the
discovery process from here goes.

And as far as a -- an additional expert by the
defense to hire and analyze the ZirMed billing, that's totally

fair. We don't have any issue with that. I mean, we would

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 170 of 182 PagelD 2071

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170

 

 

likewise employ Dr. Kongstvedt to analyze the data as well, and
perhaps even issue a supplemental report. So that's -- there's
no objection there.

THE COURT: All right.

(Judge confers with law clerks.)

THE COURT: All right. Here's what we're going to
do. What I'm going to do is -- it seems to me that we need to
understand the issue that was raised by the Brady motion before
we can really get too far.

And I don't know whether that's a big issue or a
medium issue or a little issue. I cannot tell. But it's an
issue. It's been recognized by both the defense and the
government that further inquiry needs to be made from the -- to
the insurance companies.

And -- and so I think that should be at least the
focus now, to try to get our arms around that, see what that
issue is, see where that takes us. And at the same time I
think there could be efforts made to discuss these expert
issues.

So what I'm going to do is I'm going to continue the
trial. And I'll make the findings required in a moment. But
I'm going to continue it -- and I -- I always -- I never leave
a case -- I learned this through pain of experience.

I never leave a case without a trial setting. I

always have it set for trial sometime, because the Speedy Trial

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 171 of 182 PagelD 2072

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171

 

 

Act doesn't really like you to just put off a case
indefinitely, so -- but that doesn't mean it can't be moved
again if that's what happens.

So what I'm going to do is -- I think the only two
dates that are going to be remaining after we leave here today
will be a trial setting, which won't necessarily be the final
one, but will be a trial setting that we'll be working toward,
and a date for a status conference with the Court to determine
the status of these -- of this inquiry from the insurance
companies, emails, and the other things we've been talking
about, where that stands in the process, what the government's
been able to accomplish, what the defense has been able to
accomplish, and, also, any progress on the experts.

In the meantime, I think I can make rulings on many
of the motions that have been filed. And I'11 go ahead and
prepare an order in that regard. Obviously I'm not prejudging
at the moment. But I think we -- we should continue to prepare
toward trial.

And so I think that's -- I think that's what we need
to do. And I'm not interested -- I'm sure that those who are
charged with these crimes, who are -- many of whom are here
today -- I'm sure that the lawyers involved, who are all -- who
all have other matters to attend to as well -- I don't have any
intention of continuing this thing ad infinitum. I don't have

any intention, you Know, of continuing it more than I need to.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 172 of 182 PagelD 2073

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172

 

 

But on a case as big as this, as complex as this,
with as many moving parts as this, we cannot move forward
meaningfully until we kind of know what we've got and what
we're working towards. So I think that's what we're going to
do.

Now, the question in my mind is how long -- because
I'm going to have a status. And right now I think it can be by
phone. I don't know that we need to get everybody here
together again.

But I'm going to have a status at some point. And
I'm going to want to hear what's happened with the insurance
companies, where are we on that. What's -- what -- are there
any productions made? Are we done with that? Is there more to
do?

You Know, the things that you would expect me to want
to understand. And I might even require a written report right
before the hearing so I at least Know what we're dealing with.

What I don't have a good feel for is how long -- I
think 60 days is probably the minimum. 90 maybe would be
better. But I don't really know. And I'm -- you know, I --
and I guess it's not the end of the world if we have one and
it's not as productive, but I'd like it to be productive.

So I'll start with you, Mr. Duva. If you were -- if
you were wanting to have a status where you're going to be able

to report substantial progress to me on the issues that have

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 173 of 182 PagelD 2074

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173

 

 

been raised here, how far out reasonably do you think that
should be?

MR. DUVA: Our thoughts -- I agree with Mr. Landes.
July 15th I think is a reasonable period of time. We've
already got some plans in place. I think we're going to issue
a trial subpoena in certain areas to get the ball rolling.

THE COURT: Okay.

MR. DUVA: And hopefully very soon we'll have
information that we can turn over.

THE COURT: All right. If I set it for July 15th, is
anybody -- or around there -- I don't have a date yet. Has
anybody got a problem with that? Does anybody have a problem
with doing it not in person?

MR. SADOW: Could we have the option of being
present?

THE COURT: Probably not. I mean --

MR. SAMUEL: Some of us, but not you.

THE COURT: And it's nothing personal.

MR. SADOW: That's what every judge has told me for
40 years.

THE COURT: I just -- I don't particular- --
especially in a criminal case, I don't particularly like it
when some of the people are here and some of them aren't, and
the government might not be here.

Sometimes I'l] get the government -- not Mr. Duva,

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 174 of 182 PagelD 2075

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174

 

 

but they'll say, Can we be there, because we're right upstairs?
No, I don't really -- so is there a reason you want --

MR. SADOW: No, no, no. It's just -- just asking.

THE COURT: Okay. I think if I do it by phone or by
Zoom, or whatever I do it by, I think it's going to be for
everybody. And I think your clients, of course, would be able
to attend as well, which is nice too, so -- and they can attend
virtually as well, so...

All right. So --

MR. DUVA: And, Your Honor, just to make clear, we're
not demanding like that specific day, just somewhere around
there.

THE COURT: I understand. I understand. That's what
I'm looking at right now.

And then all other dates will be suspended until
we -- the plea deadline and all that would be suspended until
we get our ducks in a row here.

MR. ROWLAND: Your Honor, I just checked that date.
And my girlfriend would kill me if I don't tell you this. We
have a trip scheduled the week before that.

THE COURT: Yeah.

MR. ROWLAND: So I just want to make sure that -- you
said it would be around that July 15th date. If it could just
be that date or after, that would make things a lot easier for

me.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 175 of 182 PagelD 2076

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175

 

 

THE COURT: All right. Where are y'all going?

MR. ROWLAND: Well, that's a surprise, Judge.

THE COURT: A111 right.

MR. SAMUEL: Do they have ponies?

MR. ROWLAND: They do have ponies.

MR. BELL: Unionville, Missouri.

MR. ROWLAND: I haven't told her where we're going
yet.

THE COURT: All right. Well, then I don't want
to -- I don't want to put it on a federal court record then.

MR. ROWLAND: There's a transcript.

THE COURT: Then we'd have to seal it. It would get
kind of -- all right. Well, I don't usually hold -- I've got
criminal status conferences on July 19th, Monday. That's our
typical status day.

We don't usually hold criminal hearings other than
that on Mondays because that's -- one of my colleagues does all
her sentencings on that day.

But since we're doing this by phone, how about
Monday, July 19th, at -- I don't know. With the way these
things go, maybe I should do it at -- what time do you think?

(Judge confers with courtroom deputy. )

THE COURT: Yeah. That's what I think, too.

How about 10 a.m., Monday, July 19th? Going once.

MR. DUVA: That works for the government, Your Honor.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 176 of 182 PagelD 2077

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176

 

 

THE COURT: Going twice? Sold.

Okay. The ore tenus motion of the defendant Jorge
Perez to continue the trial, joined in by all of the other
defendants, and unopposed by the government, is granted for the
reasons which are borne out by the record of the hearing that
we conducted today.

The ends of justice served by that continuance will
outweigh the interests of the defendant and the public in a
speedy trial.

The Court will set the case at this time for the
January 2022 trial term, which begins on January 3rd, but
don't -- we would not start the case at that point. But that's
just the beginning of the trial term on my schedule.

And the Court has already announced, but will
announce again, that we -- the parties and the Court will be
working toward that trial date, but a lot will depend upon the
review at the status conference of the situation of the -- of
the case. And that status conference will be held on
July 19th at 10 a.m., by either phone or Zoom. We'll figure
that out.

I'm going to ask for a status report to be filed by
the government and by defense counsel no later than July the
9th, so that the Court will head into the status conference
understanding where the parties are.

I don't -- I'm not envisioning that we would have

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 177 of 182 PagelD 2078

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177

 

 

motion practice in advance of that hearing. I really envision
it as being a true status conference, to see what we need to do
and who needs to do what.

So I'm not envisioning motion practice, but I'm not
prohibiting it as we run up to that hearing, if -- you know, if
there's something that you really need to bring to my attention
or something we can resolve at the status conference. But it
is not designed to be what today was, which is, you know,
hearing motions and things like that.

And all other deadlines in the case are vacated. So
the only dates right now are the July 19th status conference
and the January 2022 trial date. All other dates will be
provided to the parties at a later time.

(Judge confers with law clerk.)

MR. SADOW: Your Honor, the defense would like to
know -- do you want a filed written status report that is filed
of record, or just sent to your office for review?

THE COURT: No. I was assuming it would be filed.

MR. SADOW: Okay.

THE COURT: Yeah.

MR. SAMUEL: And I'm not sure what you envision being
in the report.

THE COURT: I don't know. I mean, I just want to,
you know, know what's going on.

MR. SAMUEL: The family is doing fine and --

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 178 of 182 PagelD 2079

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178

 

 

THE COURT: No. I want to know how we're progressing
on the issue with the insurance companies.

MR. SAMUEL: And the Daubert?

THE COURT: And the Daubert.

MR. SAMUEL: Okay.

THE COURT: Whatever else I need to be apprised of so
I can make some intelligent decisions. Because the -- the goal
would be that I would, at that point, have enough information
to schedule the case and mean it. That's my goal.

But what the content of that is -- and to the extent
it can be a joint filing, that's fine. But if not, I just want
to hear what people are saying. So I'll -- I don't want to
just come into the hearing cold.

So the other -- the only other thing I can think
of -- actually, Ms. Weisman thought of it, was that the -- the
government did indicate that by way of particulars it was
willing to provide a list of unindicted coconspirators. It may
well be that that list will be a surprise to absolutely no one.

But, Mr. Hayes, I think you were the one that said
you would do that. How long -- if I gave the government 30
days to -- to serve that, would that be sufficient?

MR. HAYES: More than sufficient, Your Honor. Thank
you.

THE COURT: All right. Then that date is May 27th.

So by May 27th, 2021, the government will serve its list of

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 179 of 182 PagelD 2080

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179

 

 

unindicted coconspirators by way of a bill of particulars. The
remainder of the motion for bill of particulars remains under
advisement, as do all the other motions.

And in entering the order on the motions, if I can
provide any other help to the parties that I think I can, I
will do so.

Mari, anything else?

(Judge confers with courtroom deputy. )

THE COURT: And my contemplation is on July 19th,
hopefully I'll be able to re-establish the other deadlines in
the case, plea deadlines and a trial date that we can all
actually mean.

And I -- you know, if we can try this case in January
or February of 2022, that's what I want to do. I have no
interest in putting it off more than that if we can get it
done. I just don't have a good sense of that right now. So
that's why we're going to check -- do a temperature check in
July and figure out where we are here.

Anything else?

(No response. )

THE COURT: Anything else?

LAW CLERK: No.

THE COURT: Mr. Duva, anything else from the
government?

MR. DUVA: No, Your Honor.

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 180 of 182 PagelD 2081

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THE COURT: Anything from defense counsel?

MR. SADOW: Just briefly. The matter that Mr. Blake
brought up about the sealing of those exhibits, that's the one
thing that I would sense there is some urgency, if the Court
were to get to that.

THE COURT: Okay. I'11 take a look at that.

And, Mr. Duva, as I recall, the government had no
objection to that either; is that correct?

MR. DUVA: That's correct, Your Honor.

THE COURT: Okay. Well, yeah, that might well be the
thing to do. And we'll make a note of that.

MR. SADOW: Thank you.

THE COURT: Anything else?

All right. Well, thank you all for your attendance.

Let me just -- if I could briefly speak to -- I
don't -- I Know a number of you out here are those who have
been charged in this case.

And I could imagine that some of you may be wishing
we could get to this sooner rather than later. I probably
would feel that way if I were in your shoes.

But I hope you'll understand that I'm not delaying
this just to delay it. We -- if this case is to go to trial,
or if people are in -- need to be in position to make good
decisions as to how they want to proceed, we need to kind of

get all the information that is available and that the law

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 181 of 182 PagelD 2082

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requires, so that we can -- that we can all help make those
decisions, and then I can make the decisions that I need to
make.

So that's the primary reason we're continuing the
case. And I'11 do everything I can to get it to trial as soon
as I can. But it's a big case. There's a lot to it. And
there's a lot at stake, as I'm sure you-all know better than
anybody.

So I just want you to know I don't -- I don't take
lightly further continuance of this case. But it's -- it's
required in order for me to try to give everybody the fair
trial that they deserve.

All right. We are in recess.

COURT SECURITY OFFICER: All rise.

(The proceedings concluded at 3:19 p.m.)

 

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Case 3:20-cr-00086-TJC-JBT Document 315 Filed 05/03/21 Page 182 of 182 PagelD 2083

182

 

CERTIFICATE

UNITED STATES DISTRICT COURT )
)
MIDDLE DISTRICT OF FLORIDA )

I hereby certify that the foregoing transcript is a true
and correct computer-aided transcription of my stenotype notes

taken at the time and place indicated herein.

DATED this 3rd day of May, 2021.

s/Shannon M. Bishop
Shannon M. Bishop, RDR, CRR, CRC

 

 

 

 

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